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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

RANDY ETHAN HALPRIN,                     §
                                         §
                 Petitioner,             §
                                         §
v.                                           CAUSE NO. 3:19-CV-1203
                                         §
                                         §
LORIE DAVIS, Director, Texas             §
Department of Criminal Justice,          §   CASE INVOLVING THE DEATH
Correctional Institutions Division,      §   PENALTY
                                         §
                 Respondent.             §




                      PETITION FOR WRIT OF HABEAS CORPUS
                     SUPPORTED BY POINTS AND AUTHORITIES




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  3       Todd Bensman, Rodriguez invited into plot for getaway car, Halprin           009
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  5       Press Release, Office of Governor Appoints Cunningham as Judge,              015
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                                          INTRODUCTION

        The Honorable Vickers Cunningham, the presiding judge at Mr. Halprin’s capital trial, is a

racist and anti-Semitic bigot who described Mr. Halprin as “that fuckin’ Jew” and a “goddamn kike.”

That judge—who decided all pretrial motions, challenges during jury selection, and all objections

during the taking of evidence—believed that Jews “needed to be shut down because they controlled

all the money and all the power.” He referred to the Latino defendants as “wetbacks.” In general,

Judge Cunningham said about his service on the bench, “any ‘nigger’ or ‘wetback’ walking into his

courtroom knew they were going to go down.” Judge Cunningham’s prejudices, bias, and animus

towards Jews precluded him from the being the impartial judge the Due Process Clause of the

Constitution requires. His central role in the trial from start to finish constitutes a structural defect,

and requires that the judgment of conviction and sentence of death be vacated.

        Anti-Semitic bias ranks as “humanity’s greatest hatred.” Dennis Prager & Joseph Telushkin,

Why the Jews?: The Reason for Antisemitism 17 (1985). Judge Cunningham’s participation in Mr.

Halprin’s trial despite his anti-Semitic animus offends basic concepts of fairness and religious

equality and violates the Constitution’s guarantee of due process of law. Like reliance on invidious

racial stereotypes, a judge’s religious animus represents “a disturbing departure from a basic premise

of our criminal justice system: Our law punishes people for what they do, not who they are.” Buck

v. Davis, 137 S. Ct. 759, 778 (2017).

        Just as a federal court must take extraordinary action to correct racial prejudice in the

criminal justice system, it must act swiftly and decisively to remove the taint of anti-Semitic bias, or

else risk the loss of public confidence in an impartial judiciary. See Buck, 137 S. Ct. at 778; Buntion

v. Quarterman, 524 F.3d 664, 672 (5th Cir. 2008) (A “criminal defendant tried by a biased judge is

entitled to have his conviction set aside, no matter how strong the evidence against him.” (internal

quotation marks and citation omitted)).
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        Whether Mr. Halprin should receive relief on these facts is a straightforward question.

Where and when Mr. Halprin can secure relief from his constitutionally infirm conviction is a

complex question, given the procedural posture of the case. As presented in the arguments in the

Procedural Arguments below, this Court can review Mr. Halprin’s petition despite seeming

obstacles. 1 The Anti-Terrorism and Effective Death Penalty Act (AEDPA)’s bar on “second or

successive” applications was not intended to apply to Mr. Halprin’s fundamental claim of trial error,

diligently raised in a second petition only because of a state actor’s interference. See Panetti v.

Quarterman, 551 U.S. 930, 945 (2007) (concluding 28 U.S.C. 2244(b) does not apply to second-in-

time petition raising new claim of competency to be executed); Stewart v. Martinez-Villareal, 523

U.S. 637, 643 (1998).

        Even though this Court may eventually review Mr. Halprin’s claim, it should stay this matter

pending the completion of Supreme Court certiorari review of Mr. Halprin’s initial federal habeas

proceedings, which may moot this claim, and exhaustion in state court, which is ordinarily a

prerequisite to federal review. Mr. Halprin presents his claim first to this court in a protective

petition, filed in order to satisfy the statute of limitations (28 U.S.C. § 2244(d)(1)), even though his

claim has not yet been exhausted in state court (28 U.S.C. § 2254(b)(1)). Pace v. DiGuglielmo, 544

U.S. 408, 416 (2005) (authorizing a habeas petitioner to “fil[e] a ‘protective’ petition in federal court

and ask[] the federal court to stay and abey the federal habeas proceedings until state remedies are

exhausted.” (citing Rhines v. Weber, 544 U.S. 269, 278 (2005)). Because of the operation of Texas’s

“two-forum rule,” which bars state habeas review while federal habeas proceedings are not stayed,




1
 The arguments made below would also support relief from judgment pursuant to Federal Rule of
Civil Procedure 60(b).


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Mr. Halprin may not even bring his claim in state court until review of his initial federal habeas

proceedings is completed in the Supreme Court and his proceedings are stayed in this Court.

                                    STATEMENT OF FACTS

       Mr. Halprin was convicted of capital murder and sentenced to death as a party in connection

with the killing of Irving police officer Aubrey Hawkins in the course of a Christmas Eve robbery of

a sporting goods store. Judge Vickers Cunningham presided over Mr. Halprin’s trial and sentenced

him to death.

             A. Randy Halprin’s Crime and Judge Vickers Cunningham’s Appointment

       In December 2000, Halprin and six other men participated in a notorious escape from the

Connally Unit, a Texas Department of Criminal Justice (“TDCJ”) prison, in Kenedy, Texas. The

escape, Officer Hawkins’s murder on Christmas Eve, and the manhunt for the escapees—the so-

called “Texas Seven”—drew extensive media coverage.

       Even before his arrest, news stories began to document Mr. Halprin’s Jewish identity in

connection to the events. On January 7, the Fort Worth Star-Telegram reported that Mr. Halprin

and another escapee, Michael Rodriguez, had applied to attend Jewish worship services less than a

year before the escape, which “granted the privilege of worshipping with a rabbi.” Miles Moffeit,

Chaplain: Escapees tricked guards; Senior minister says workers at Connally prison were beaten

viciously, bound and locked up, Ft. Worth Star-Telegram, Jan. 7, 2001 (Exhibit 1). A prison chaplain

speculated Halprin and Rodriguez were “playing a game . . . of changing their faith so they could

exploit worship for extra privileges” and doubted they were “really Jewish.” Id.

       The escapees were captured in a Colorado trailer park in late January 2001, where they had

been impersonating devout Christian conventioneers. Michael Janofsky, Texas Fugitives Fit In at

Trailer Park, Neighbors Say, N.Y. Times, Jan. 24, 2001 (Exhibit 2) (“They told people they were




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here to attend a religious convention,” one neighbor said. “Whenever they would go outside to work

on a vehicle, they would play religious music.”). (One escapee took his own life before capture.)

       Soon after his arrest, the Dallas Morning News reported that Halprin had recruited

Rodriguez “because he was Jewish” when the two men attended Jewish religious services at the

Connally Unit. See Todd Bensman, Rodriguez invited into plot for getaway car, Halprin says, Dallas

Morning News, Feb. 4, 2001 (Exhibit 3). The article also reported that Mr. Halprin had driven past

his childhood synagogue when the escapees were passing through Arlington, Texas, and had spoken

with a rabbi in the Colorado jail where he was being held. Id.

       Early news reports also delved into Mr. Halprin’s Jewish background. According to a January

2001 Dallas Morning News report,

       By early adolescence, the boy was flunking out of school and mapping sites where he
       thought space aliens would pick him up. Yet he also showed great ability on another
       front, mastering the lessons for his bar mitzvah at North Arlington’s Congregation
       Beth Shalom synagogue.

       “Here’s this kid reading Hebrew and leading the congregation and doing it well,” said
       Chief Waybourn, who attended the coming-of-age ceremony.

       Mr. Halprin didn’t stick with religious studies, said Janet Aaronson, the synagogue’s
       executive director. The rabbi from that time “remembered that he was a bright kid,”
       she said, “but a troubled kid.”

Brook Egerton, Halprin endured abuse, other hardships as youth, Dallas Morning News, Jan. 14,

2001 (Exhibit 4).

       Mr. Halprin’s case, like those of the other members of the Texas Seven, was assigned to

Judge Molly Francis of the 283rd Judicial District Court in Dallas. Judge Francis presided over the

trial of the leader of the escape, George Rivas, who received a death sentence in August 2001.

       Then, in September, in the middle of jury selection for Donald Newbury’s trial, Governor

Rick Perry appointed Judge Francis to fill a vacant seat on the Fifth District Court of Appeals in




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Dallas. See Press Release, Office of the Governor, Governor Announces Appointment of Francis

as a Justice of the 5th Court of Appeals, Sept. 5, 2001 (Exhibit 5).

         A month later, Governor Perry appointed Judge Vickers Cunningham to fill Judge Francis’s

seat on the 283rd District Court. See Press Release, Office of Governor Appoints Cunningham as

Judge, 283rd Judicial District, Oct. 11, 2001 (Exhibit 6). From his appointment, Judge Cunningham

knew his principal task would be overseeing the capital trials of the remaining members of the Texas

Seven, including Mr. Halprin. Holly Becka, New judge ready for escapees' trials; Appointee will take

over death-penalty cases next month, Dallas Morning News, Oct. 12, 2011 (Exhibit 7). He told a

local magazine that he “wanted the challenge.” Two Woodrow Wilson grads help decide the Texas

7’s fate, Advocate: Lakewood/East Dallas, Aug. 1, 2002, https://lakewood.advocatemag.com/

2002/08/01/men-of-the-law/ (Exhibit 8).

         Judge Cunningham was a Dallasite, born and bred. He was raised in the Lakewood

neighborhood, and was a graduate of Dallas schools and Southern Methodist University. Id. His

parents Bill “Bulldog” Cunningham and Mina Sue Cunningham were well-connected and active in

Republican politics. See Declaration of Tammy McKinney ¶ 2 (Exhibit 9) (describing church,

country club, and social activities Cunninghams were involved in); Rep. Jeb Hensarling, Honoring

the late Bill ‘Bulldog’ Cunningham, The Constituent Register, May 16, 2016, https://the-

constituent.com/honoring-mr-bill-bulldog-cunningham-by-representative-jeb-hensarling/speech/

69756 (Exhibit 10) (“Bulldog was an active political volunteer, along with his wife, Mina.”).

         Judge Cunningham was a congregant and admirer of segregationist Pastor W. A. Criswell

who led the church Cunningham attended and officiated at Cunningham’s wedding. Jim Jones and

Mary McKee, Baptists eulogize Criswell ministry, Ft. Worth Star-Telegram, Jan. 17, 2002 (Exhibit

11).




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          From a young age, Cunningham believed it was his “destiny” to serve as a judge. Exh. 8, Two

Wilson Grads. He took his inspiration from the judges and prosecutors who lived in Lakewood,

especially the long-serving Dallas District Attorney Henry Wade, Sr. Cunningham later explained,

“I was Henry Wade’s paperboy, and I went to school with his daughter . . . . I was so impressed with

Henry Wade and his legend.” Gromer Jeffers, The late Henry Wade stirs emotions of DA

candidates, Dallas Morning News, Jan. 24, 2006 (Exhibit 12). After five years as a Dallas County

prosecutor, Judge Cunningham was elected to a seat on the Dallas County Criminal Court in 1995,

where he sat until his appointment to the district court. Exh. 7, Becka, New judge ready for escapees’

trials.

          In the year and a half following his appointment, Judge Cunningham presided over the trials

of Texas Seven defendants Donald Newbury, Michael Rodriguez, and Joseph Garcia, each of whom

he sentenced to death. In that time, he also was elected to his district court seat in a contested election

in November 2002. See Mark Donald, Life After Lotto; Whatever Happened to the Dallas Public

Defenders Who Won the Lottery?, Texas Lawyer (online), July 19, 2004 (Exhibit 13) (describing

2002 election challenger King Solomon).

               B. Mr. Halprin’s Trial

          Randy Halprin was the second to last defendant scheduled for trial. By June 2003, when the

trial began, “the killing was pretty old news” and there were “far fewer reporters and spectators than

in the earlier trials.” Jacquielynn Floyd, We Shouldn’t Be Dulled to the Brutality, Dallas Morning

News, June 10, 2003 (Exhibit 14).

          During the trial, Judge Cunningham presided over the questioning and selection of jurors,

made critical pre-trial rulings, ruled on the admissibility of evidence relevant to Mr. Halprin’s guilt

and punishment, instructed the jury, and sentenced Mr. Halprin to death based on the jury’s answers

to the special issues.


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          Mr. Halprin was indicted and tried for capital murder under Texas’s “law of parties.” 1 CR

65. Under the law of parties, the State did not need to prove that Mr. Halprin actually killed or

intended to kill. Tex. Penal Code § 7.02. Then, the State could only sentence Mr. Halprin to death

if the “actually caused the death of the deceased or did not actually cause the death of the deceased

but intended to kill the deceased or another or anticipated that a human life would be taken.” Tex.

Code Crim. Proc. art. 37.071, § 2(b)(2). As a result, in both phases of his trial, Mr. Halprin’s relative

culpability and credibility in explaining his role were central issues.

          Mr. Halprin testified during the guilt phase of trial that he did not shoot Officer Hawkins,

nor did he ever discharge his weapon during the Oshman’s robbery. 47 RR 98; 48 RR 24, 55, 102.2

Halprin testified that during the escape, he did not physically strike anyone, 47 RR 99, and he had

essentially no role in planning the escape, and played a minor role in the actual escape. 48 RR 4, 7.

He said that after they escaped, the group robbed two other places before Oshman’s, but he was

only involved in one of those robberies. 48 RR 8, 9. As to Oshman’s, Halprin told the jury,

          You know, I, before the robbery, I even told them, I’m not going to go in and carry
          a gun and there was a little argument and they made it very clear that, you know, it
          was, you know, their way or the highway. And so I told them I wasn’t going to pull a
          gun and they said, fine, just gather clothes, grab a shopping cart, and gather clothes.

48 RR 14; id. at 136. When the shooting began, he “freaked out” and ran off. 48 RR 23.


2
    During his testimony, Mr. Halprin pleaded with Judge Cunningham:
          THE DEFENDANT: Your Honor can you please tell them to stop staring at me
          like that The DAs
          THE COURT: They’re just listening to the testimony
          THE DEFENDANT: I understand but they’re making strange faces and things like
          that and its making me uncomfortable and nervous.
47 RR 117-18. When the jury recessed, Judge Cunningham spoke sternly to Mr. Halprin: “Mr.
Halprin, you put me in a very bad position. I don’t really want to respond to your request in front
of the jury. You should have waited until now.” 47 RR 119-20.




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       The trial court repeatedly rebuffed Mr. Halprin’s attempts to introduce a prison “ranking

document” that rated the escapees’ leadership qualities and showed Mr. Halprin “never exhibited

leadership qualities,” was “[v]ery submissive,” and was the “weakest” of the members. Halprin v.

State, 170 S.W.3d 111, 114-15 (Tex. Crim. App. 2005).

       From its opening statement on, the prosecution tried to erase any distinction between

Halprin and the other escapees. E.g., 41 RR 38 (referring to “their goal” and “their target”). The

State argued at the close of the guilt phase that Mr. Halprin may not “look bad” but “you know he’s

deceitful” and “different than us,” that he could not help but show his “true colors” and “true nature”

when he testified. 50 RR 15.

       Mr. Halprin’s Jewish identity was a recurring subject during Mr. Halprin’s trial. For example,

when Mr. Halprin testified, he spoke about being “picked on” in prison because he was Jewish:

       [DEFENSE COUNSEL]: Q. Let me show you what has been marked as 954,
       which was the letter that was introduced by the State. And, once again, this is a
       letter you wrote; is that correct?

       [Halprin]: A. Yes, sir.

       Q,. You wrote it to Dawn and in here it says - you talking about being in
       prison and being scared and in regard to the Blacks and the Mexicans and, “The
       just pick the jews [sic] to blame everything on. They never tried that crap with
       me. I had a lot of respect from one of the leaders of one of the Arian [sic] gangs
       over there named Batman who didn't really like me, so to speak, and I didn't like
       him. He knew I didn’t put up with that antisemitic [sic] crap.

       So you might have been picked on because you were jewish [sic], but you at least
       tried to stand up for yourself being jewish [sic]?

           A. Yes, sir.

49 RR 46-47. Out of necessity Halprin formed alliances with Aryan Brotherhood gang

members, but belonged to no gang. 49 RR 35-36.

       In the punishment phase, the defense presented evidence that Mr. Halprin’s life was

shaped by his search for a Jewish identity and his desire to please his Jewish father. Mr. Halprin


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worked hard to become bar mitzvah, an important Jewish rite of passage for adolescent boys.

See 52 RR 9-11 (Mindi Sternblitz); 52 RR 53-55 (Terri Goldberg). The defense called as

witnesses Mr. Halprin’s childhood friends, who themselves identified as Jewish. This evidence

supported Mr. Halprin’s plea for the jury to find “a sufficient mitigating circumstance or

circumstances to warrant that a sentence of life imprisonment” in his “character or background.”

See Tex. Code Crim. Proc. art. 37.071 § 2(e).

       The State, in turn, elicited the fact that Mr. Halprin professed to “hat[ing] Christians with a

passion” and “despising everything dealing with Jesus” after he was shipped off to a Christian

boarding school in middle school:

       Q. Looking at this exhibit again, do you remember him telling you that, “I think
       boarding school messed Wesley and I both up. You know, after I was locked up, I
       really started to hate Christians, I mean with a passion. I guess I blamed a lot of things
       on that school at first, so I just ended up despising everything dealing with Jesus. I’m
       not that way, now, though I still don’t trust many Christians these days, either.”

       Did you ever talk to him about that?

       A. Not specifically that statement. I know that you know he was raised being Jewish
       and then all of a sudden he was having to attend these religious services that is
       contradicting you know what he was raised this whole time. So I can understand that
       animosity was built up.

52 RR 28 (quoting SX 975 (Letter from Randy Halprin to Mindi Sternblitz, Oct. 4, 2001)).

       In a critical ruling, Judge Cunningham denied Mr. Halprin the ability to present

mitigating evidence gathered by clinical psychologist Dr. Kelly Goodness. Judge Cunningham

held a hearing prior to Dr. Goodness’s testimony. 52 RR 88. The State objected to the doctor’s

report and to the doctor testifying as to hearsay used in forming her opinion. 53 RR 3. The

State argued that, pursuant to Texas Rule of Evidence 705, it was “highly prejudicial and unfair

to the State” to allow the testimony. 53 RR 3. According to the State, Halprin had to show that

the hearsay statements were “otherwise admissible in court” before they could be elicited from



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the witness, “[i]f they are not, then it’s within this Court’s discretion to exclude them.” 53 RR 5.

Judge Cunningham ruled that Dr. Goodness could testify to her opinion and the sources she

used to form that opinion, but could not testify to any specific information contained within

those sources. 53 RR 6; 8; 11-12. In rote application of the hearsay rule, the court excluded all

details underlying Dr. Goodness’s opinions including her conclusion that Halprin’s biological

parents were drug addicts, 53 RR 30, and an explanation of his expulsion from boarding school,

53 RR 39.

       Judge Cunningham also denied Mr. Halprin’s motion challenging the constitutionality of the

special “law of parties” instruction for the punishment phase as applied to his case. 1 CR 158-171

(arguing Tex. Code Crim. Proc. art. 37.071, § 2(b)(2) fails to satisfy Supreme Court precedent). At

the close of the evidence, Halprin’s counsel renewed his previous motions, including those attacking

§ 2(b)(2). 53 RR 73.

       At the close of the punishment phase, the prosecution argued that Halprin was a “liar” who

“manipulates people,” and who was “trying to manipulate one or two of you, hopefully.” 53 RR 83.

The State went on to argue that Halprin “uses people,” and “blames people.” 53 RR 84. The

prosecution attacked Halprin’s assertion and testimony that he was not really a member of this

“gang,” arguing that Halprin “was not just being drug along or anything.” 53 RR 127. The prosecution

repeatedly grouped the all of the escapees’ actions and intent together, and attributed “their” actions

and intent specifically to Halprin. 53 RR 126-128; 135-136; 139. The State contended that Halprin

was “as actively involved as the others.” 53 RR 128. The State directly challenged Halprin’s assertion

that “he wants to present himself as the follower, the person who doesn’t want to be there, that’s

reluctant, that doesn’t want to go along.” 53 RR 128. “He tries to distance himself. I was a follower.

I didn’t want to be there. That they had to have someone watch me. Don’t buy it for a second, folks.




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He was in it all the way.” 53 RR 133. The prosecution triumphantly proclaimed in the absence of

excluded evidence that there was no “significant mitigating evidence.” 53 RR 138.

       During its six hours of deliberations over the appropriate punishment, the jury indicated

through a note that its answer to the second, anti-parties, special issue turned on the difference

between whether Halprin “‘anticipated that a human life would be taken’ and ‘should have

anticipated.’” 1 CR 45. Up to that point, this was the longest time any Texas Seven jury had

deliberated. See Robert Tharp, Jury in escapee trial is still out; Panel sequestered after 5 hours, no

agreement on killer’s punishment, Dallas Morning News, June 12, 2003 (Exhibit 15).

             C. Judge Cunningham’s Extensive History of Prejudice on the Basis of
                 Religion, Race, Ethnicity, and Sexuality

       Before, during, and after Randy Halprin’s trial, Judge Cunningham harbored deep-seated

animus towards and prejudices about non-white, non-Christian people. He expressed these views

frequently in private and they informed his thinking about his public service in the law.

       Tammy McKinney grew up with Vic Cunningham and knew him intimately. Cunningham

and McKinney’s parents were close friends, ran in the same social circles, went to the same church,

and were members of the same clubs. See Exh. 9, McKinney Decl. ¶¶ 2-5. McKinney and

Cunningham were friendly and “Vic really trusted” McKinney. Id. ¶ 6. When he became a judge,

Cunningham even offered McKinney the position of court coordinator. Id.

       But Judge Cunningham’s bigotry prevented McKinney and Vic from ever becoming “truly

good friends.” Id. ¶ 8. Cunningham “did not like anyone not of his race, religion or creed, and he

was very vocal about his disapproval.” Id. For example, Cunningham belittled his brother Bill by

calling him “nigger Bill” “for as long as [McKinney] can remember.” Id. ¶ 16. He was “always []like

this,” but “his level of hatred” seemed to grow with age. Id. ¶ 8. By the time McKinney and

Cunningham were around thirty—long before Judge Cunningham presided over Mr. Halprin’s trial—



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McKinney found Cunningham “so hateful.” Id. ¶ 5. She remembers that “[h]e would regularly use

offensive” language “such as ‘nigger,’ ‘wetback,’ ‘spic,’ ‘kike,’ ‘the fuckin’ Jews.’” Id.

        Judge Cunningham “would often use race or ethnicity to refer to people . . . who were

members of groups he did not like. . . . If someone were actually African-American, he would call

them ‘Nigger’ and their first name. It was his signature way of talking about people of color. For

Jewish people, he would say a ‘fuckin’ Jew’ or a ‘goddamn kike.’” Id. ¶ 16.

        After the Texas Seven trials, Judge Cunningham would “tout with pride his role.” Id. ¶ 7.

When he discussed the cases, he would “often” make “extremely hateful comments” and always

mention the defendants’ “race, ethnicity or religion.” Id. According to McKinney, Judge

Cunningham “took special pride in the death sentences because they included Latinos and a Jew.”

Id. Judge Cunningham would call Mr. Halprin a “goddamn kike” and “that fuckin’ Jew.” Id. ¶ 13.

He also used the term “‘wetback’ to describe some of the Texas 7 defendants.” Id. ¶ 8. On at least

one occasion, McKinney remembers Cunningham saying, “From the wetback to the Jew, they knew

they were going to die.” Id. ¶ 12. When Judge Cunningham “los[t] inhibitions” and aired his

prejudices at parties, he would often return to discussing the Texas Seven. Id. ¶ 8. Speaking of his

judgeship, “Vic said any ‘nigger’ or ‘wetback’ walking into his courtroom knew they were going to go

down.” Id. ¶ 12.

              D. Judge Cunningham’s 2006 Campaign for District Attorney

        In late 2005, Judge Cunningham resigned his judicial seat in order to run for Dallas district

attorney in the Republican primary. Publicly, Judge Cunningham ran as an efficient administrator,

who was tough but fair. See Id. ¶ 12; Editorial, Dallas District Attorney: Cunningham offers GOP a

breath of fresh air, Dallas Morning News, Jan. 21, 2006 (Exhibit 16) (editorial board endorsement

of Judge Cunningham for “administrative skill” and experience as prosecutor and judge). Privately,

Judge Cunningham “said that he was running for DA so that he could return Dallas to a Henry-


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Wade style of justice where we did not have to worry about ‘niggers,’ Jews, ‘wetbacks,’ and

Catholics.” Declaration of Amanda Tackett ¶ 7 (Exhibit 17); Exh. 9, McKinney Decl. ¶ 10

(Cunningham said “he wanted to run for office so that he could save Dallas from ‘niggers,’ ‘wetbacks,’

Jews, and dirty Catholics”). He said, “My job is to prevent niggers from running wild again.” Exh.

17, Tackett Decl. ¶ 13.

        Dallas District Attorney Henry Wade’s office had become publicly notorious for its

institutional practice of discrimination in jury selection. The Supreme Court recognized that at least

until 1976 (and likely into the mid-1980s), “the District Attorney’s Office had adopted a formal

policy to exclude minorities from jury service.” Miller-El v. Cockrell, 537 U.S. 322, 334-35 (2003).

A policy document instructed prosecutors: “‘Do not take Jews, Negroes, Dagos, Mexicans or a

member of any minority race on a jury, no matter how rich or how well educated.’” Id. at 335.

        One of Judge Cunningham’s Republican-primary opponents suggested Cunningham carried

the same “racial baggage” from Wade’s tenure. Gromer Jeffers, DA race reflects changing county:

Gradual uptick in Democratic support alters campaign tactics, Dallas Morning News, Feb. 12, 2006

(Exhibit 18). As a Dallas prosecutor, Cunningham had intentionally removed all black prospective

jurors during jury selection for a 1992 murder trial. Id. Judge Cunningham acknowledged what he

had done, but defended the strikes by claiming it was the prospective jurors’ Democratic party

affiliation, not their race, that triggered the strikes. Id.

        During the 2006 campaign, Judge Cunningham continued to tout his role in sentencing the

Texas Seven to death. A campaign advertisement at that time described how Judge Cunningham

had “looked each of the Texas 7 in the eye when he sentenced them to death.” 3 Judge Cunningham




3
 Pleeeeaaaazzzze, Liberally Lean from the Land of Dairy Queen, Feb. 21, 2006,
www.liberallylean.com/2006/02/pleeeeaaaazzzze (Exhibit 29).


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privately confided he believed God had chosen him to preside over those trials and said that he was

“entitled to be” the district attorney because he had presided over the Texas Seven trials. Exh. 17,

Tackett Decl. ¶ 6.

         In the campaign office and at campaign events, Judge Cunningham resorted to the same

bigoted statements that McKinney heard him make his entire life. Id. ¶ 9. This was news to campaign

volunteer Amanda Tackett, who was enlisted to help by her friend and Judge Cunningham’s brother

and campaign manager Bill Cunningham. Id. ¶ 5. Tackett personally heard Vic refer to Mexicans as

“wetbacks,” Catholics as “idol-worshippers,” Jews as “dirty,” and African-Americans as “niggers.” Id.

¶ 9.

         Like McKinney, Tackett heard Judge Cunningham discuss the Texas Seven cases using racial

and religious epithets. At a Lakewood campaign event, Tackett recalls hearing Cunningham refer to

Mr. Halprin as “the Jew” and others in the Texas 7 as “wetbacks.” Id. ¶ 15. Cunningham “then

launched into his campaign speech about immigration and the importance of White people in the

Dallas community.” Id.

         Discussing criminal cases in Dallas, Judge Cunningham would use the phrase “T.N.D.”—that

is, “typical nigger deals”—as “shorthand for criminal cases involving African-Americans”:

          The term referred to the system of justice African-Americans were subjected to. Vic
         routinely used the phrase “TND” to describe the goings-on around the courthouse.
         It was a no muss no fuss type of justice. If a case involved a Black person, he’d say,
         “It’s just a nigger doing what niggers do.” There was a more extreme connotation
         when a White was assaulted or killed by a Black.

Id. ¶ 11.

         On the topic of investigations into wrongful convictions by renowned defense attorney Barry

Scheck, Cunningham privately complained that the “‘filthy Jew’ . . . was going to come in and free




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all these ‘niggers.’” Id. ¶ 13. 4 Judge Cunningham believed the convicted men “should not have the

benefit of DNA testing” because “the cases were all TNDs anyhow” and “they are all on death row

for a reason.” Id.

        Judge Cunningham also confidentially expressed racial and religious stereotypes about black

and Jewish donors and lawyers, even as he publicly courted their contributions and endorsements.

Judge Cunningham conceded that “some Jews were good attorneys,” but “as far as Jews in general,

they needed to be shut down because they controlled all the money and all the power.” Id. ¶ 9. He

referred to Democratic nominee and eventual Dallas district attorney Craig Watkins as “nigger

Watkins.” Id. ¶ 19. Judge Cunningham put on what he called his “nigger tie” when going to a

campaign event at a charitable foundation run by African-Americans. Id. ¶14.

        Judge Cunningham’s own mother believed that her son’s “biggest burden was his bigotry,”

Exh. 9, McKinney Decl. ¶ 17, and it would be his “downfall,” Exh. 17, Tackett Decl. ¶ 17. Judge

Cunningham lost the Republican primary.




4
 Barry Scheck, co-founder of the Innocence Project, was interviewed on the PBS program
“Frontline” regarding his organization’s role in several DNA exonerations in Texas. Transcript,
Burden of Innocence, https://www.pbs.org/wgbh/pages/frontline/shows/burden/etc/script.html (last
visited May 17, 2019). The episode aired on May 1, 2003, a month before Mr. Halprin’s trial.
Between the years 2001 and 2006, 10 men convicted in Dallas County were exonerated as a result
of DNA testing. Tenth Dallas County Man in Just Years Is Proven Innocent Through DNA
Evidence, Innocence Project, https://www.innocenceproject.org/tenth-dallas-county-man-in-just-
five-years-is-proven-innocent-through-dna-evidence-larry-fuller-set-to-be-released-today/ (last visited
May 17, 2019). Since the formation of the Conviction Integrity Unity within the Dallas County
District Attorney’s Office, 28 Dallas County convictions have been overturned on the basis of
DNA evidence. The National Registry of Exonerations,
http://www.law.umich.edu/special/exoneration (“search database for ‘Texas’ ‘Dallas County’”) (last
visited May 17, 2019).




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        Between 2006 and 2018, Judge Cunningham did not seek elected office. His views did not

appear to change, however. In 2008 or 2009, Tackett remembers Judge Cunningham wearing a

stereotypical banker’s outfit—green visor and suspenders—and declaring that he would be her “Jew

banker” at a casino-themed party. Id. ¶ 21.

        McKinney and Tackett both were aware of a 2014 incident in which Judge Cunningham

“interfered with his daughter’s . . . relationship with a young Jewish man she dated when she was in

college at Texas A&M.” Exh. 9, McKinney Decl. ¶ 14; Exh. 8, Tackett Decl. ¶ 21. Tackett recalls

Cunningham instructing his daughter to break up with “that Jew boy” when referring to her then-

boyfriend. Exh. 17, Tackett Decl. ¶ 21.

        That Jewish young man, Michael Samuels, confirmed the incident. See Declaration of

Michael Samuels (Exhibit 19). He confirmed that he dated Cunningham’s daughter Suzy for about

two and a half years. He tried to meet Cunningham several times when he returned to Texas, but

Cunningham “never made an effort to meet me.” Id. ¶ 2. Suzy often said that her father was “very

opinionated.” Id. Samuels “began to understand that [Cunningham] did not want to meet with [him]

because [he is] Jewish.” Id. Suzy abruptly and unexpectedly broke up with Samuels in 2014. She

eventually explained “that her father did not like [Samuels] because [he] was Jewish” and her father

threatened not to pay for her law school tuition unless she broke up with Samuels. Id. ¶ 3. Samuels’s

uncle posted on Facebook about the incident and relayed the same information to McKinney. Id. ¶

14.

             E. Judge Cunningham’s 2018 Campaign for County Commissioner and the
                May 18, 2018 Dallas Morning News Exposé

        In 2018, Vickers Cunningham again sought office, this time as a county commissioner. Still

running as “Judge Cunningham,” and still citing the fact that he had “presided over the ‘Texas 7’

capital murder death penalty trials,” he bragged that he “has put more criminals on Death Row than



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almost any judge in the nation.” See “You Know Judge Vic (Ret.),” Judge Vic for Commissioner,

http://judgevicforcommissioner.com/about/ (cached May 23, 2018) (Exhibit 20). 5

          Cunningham made it to a run-off election for the Republican nomination. Less than one

week before the run-off, the Dallas Morning News issued a lengthy story about Judge Cunningham’s

racism. Naomi Martin, White, straight, and Christian: Dallas County candidate admits rewarding his

kids      if   they   marry    within    race,   Dallas    Morning     News,     May     18,    2018,

https://www.dallasnews.com/news/dallascounty/2018/05/18/marry-white-straight-christian-dallas-

county-politician-admits-rewarding-kids-within-traditional-family-values (Exhibit 21). In a videotaped

interview for the piece—an excerpt of which was posted with the article (see Exhibit 22, video capture

of interview on compact disc)—Cunningham revealed his racially prejudiced attitudes. Id.

Cunningham acknowledged that he had created a living trust for his children that withheld

distributions if they opted to marry a nonwhite, non-Christian person. Cunningham explained he

was motivated by “my faith of being a Christian”; he “wanted to support my faith” and “traditional

family values.” Id.

          Beyond exposing Cunningham’s creation of an anti-miscegenation trust fund for his children,

the Dallas Morning News also reported that people close to Cunningham—including his mother,

brother, and a former political aide—knew him to be “a longtime bigot.” Id.

          The article reported, “the former judge repeatedly use[d] the N-word to insult black people

behind their backs” and “described criminal cases involving black people as T.N.D.s, short for

Typical [N-word] Deals.’” Id. The story reported Amanda Tackett’s account of another racist

incident when Cunningham in 2010 or 2011, had said of “former District Attorney Craig Watkins,

who is black, [and] had helped secure exonerations of wrongly convicted men: ‘Did you see what


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    The website has since been taken down.


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[N-word] Watkins is doing, setting all those [N-words] free?’” Id. Cunningham continued, “‘He’ll

never lose an election because all the [N-words] want their baby daddy out of jail.’” Id. Tackett

summarized: “Vic believes on some level all black people have done something that warrants putting

them in jail.” Id.

        When asked about his use of the word “nigger,” “Cunningham paused for nine seconds. He

asked if the question referred to using the word in court. Told the question referred to use in

everyday life, he then said no.” Id. Cunningham’s brother, Bill, reported that Cunningham routinely

referred to Bill’s husband, a black man, as “your boy,” and refused Bill’s husband entry into his

home. Exh. 22, Martin, White, straight and Christian. (And Bill Cunningham confirmed that Vic

called him “[N-word] Bill” his entire life. Id.) Meanwhile, a text message authored by Cunningham’s

son further revealed that Cunningham’s racial bigotry extended not only to African Americans, but

to nonwhite people in general:

        I am making my father except [sic] interracial relationships starting with me and my
        relationship with my Vietnamese girlfriend. It’s a slow process but [] i have faith in
        him turning around. And if he doesn’t he will have one less person at his dinner
        table.

Id. Confronted with the evidence and allegations pointing to his racist attitudes, Cunningham denied

their veracity. Id. And although “[a]s a judge in [Dallas] county for 10 years, he sent scores of black

and Hispanic people to prison,” Cunningham claimed that “his views on his children marrying

outside their race never translated into unfairness on the bench or discrimination in any way.” Id.

        The Morning News story was shared widely and garnered national attention. The Dallas

Morning News editorial page retracted their endorsement. Editorial, We withdraw Vickers

Cunningham recommendation in GOP runoff for Dallas County Commissioners Court Precinct 2,

Dallas Morning News, May 19, 2018 (Exhibit 23). The local Republican party condemned his




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statements. Naomi Martin, Dallas County GOP slams one of its own candidates for alleged ‘racist

language and behavior,’ Dallas Morning News, May 19, 2018 (Exhibit 24).

       Judge Cunningham took to his campaign website to post a “personal note from Vic

Cunningham.”         “A      Personal       Note        from      Judge       Vic      Cunningham,”

http://judgevicforcommissioner.com/about/ (cached May 23, 2018) (Exhibit 25). The judge admitted

he set up the trust and stated that his “views on interracial marriage have evolved since [he] set-up

the irrevocable trust in 2010.” Id. He categorically denied ever using the word “nigger,” attacked his

brother’s motives, and pointed out that Tackett’s story was “without collaboration [sic:

corroboration].” Id. Judge Cunningham lost the run-off election by 25 votes. Naomi Martin, Dallas

candidate who promised to reward kids for marrying white loses by 25 votes, Dallas Morning News,

May 22, 2018 (Exhibit 26).

                              JURISDICTIONAL ALLEGATIONS

       Mr. Halprin is a Texas prisoner in the custody of Respondent Lorie Davis in the Polunsky

Unit in Livingston, Texas.

       Mr. Halprin pleaded not guilty to a charge of capital murder entered in the 283rd District

Court, Dallas County, Texas in Cause No. F01-00237-T. Following a jury trial before Judge Vickers

Cunningham, the jury found Mr. Halprin guilty on June 9, and returned a sentence of death on June

12, 2003.

       Mr. Halprin had an automatic appeal to the Texas Court of Criminal Appeals (“TCCA”) in

Cause No. AP-74,721. The TCCA affirmed on June 29, 2005. Halprin v. State, 170 S.W.3d 111

(Tex. Crim. App. 2005). On appeal, Mr. Halprin raised nineteen points of error. 6 Id. Mr. Halprin

did not seek a writ of certiorari from the Supreme Court of the United States.


6
 Mr. Halprin raised two points of error related to the trial court’s exclusion of mitigation evidence;
ten points of error regarding the trial court’s rulings during jury selection from the primary panel;

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        On April 6, 2005, Mr. Halprin timely filed an application for writ of habeas corpus in the

TCCA which was given Cause No. WR-77-174-01. As described in the Statement of Facts, in late

2005, Judge Cunningham resigned his judicial seat in order to run for Dallas District Attorney in the

Republican primary. After two changes of presiding judge, the trial court adopted the State’s

proposed findings of fact and conclusions of law with minimal alterations. The TCCA adopted the

trial court’s findings and conclusions and denied relief on March 20, 2013. Ex parte Halprin, 2013

WL 1150018. In his application, Mr. Halprin raised thirty-one allegations challenging his conviction

and sentence. Id. at *1.

        On March 20, 2014, Mr. Halprin filed a petition for a writ of habeas corpus, pursuant to 28

U.S.C. § 2254, in this Court. Halprin v. Davis, 3:13-cv-01535-L, ECF No. 5. He then filed an

amended petition on June 17, 2014. ECF No. 15. On September 27, 2017, the Court issued a

memorandum opinion and order denying relief, ECF No. 49, and a judgment which dismissed Mr.

Halprin’s petition with prejudice. ECF No. 50.

        Mr. Halprin moved for a Certificate of Appealability (“COA”) in the Fifth Circuit. His

motion was denied on December 17, 2018, Halprin v. Davis, 911 F.3d 247 (5th Cir. 2018), as were

his subsequent petitions for rehearing, see Order Denying Petition for Panel Rehearing and

Rehearing En Banc, Halprin v. Davis, No. 17-70026 (5th Cir. Jan. 29, 2019).

        On April 9, Justice Alito granted Mr. Halprin’s motion to extend the time to file a petition

for writ of certiorari until May 29, 2019. On May 13, 2019, the Supreme Court extended Mr.

Halprin’s time to file to June 12, 2019. See Halprin v. Davis, No. 18A1032 (U.S.).




three points of error regarding the trial court’s rulings during the alternate jury selection process;
and four points of error related to the prosecution’s questioning during jury selection. Halprin v.
State, 170 S.W.3d at 113-18.


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                                       GROUND FOR RELIEF

CLAIM 1.           Trial Judge Vickers Cunningham’s Bias Against Defendant Randy
                   Halprin Because He Is Jewish Violated Mr. Halprin’s Fourteenth
                   Amendment Right to Due Process of Law.

             A. Legal Standard

        The U.S. Constitution forbids the participation of a judge in a criminal trial who harbors an

actual bias or an objectively intolerable risk of bias at trial. Due process of law, as guaranteed by the

Fourteenth Amendment, requires “[a] fair trial in a fair tribunal.” In re Murchison, 349 U.S. 133,

136 (1955); U.S. Const. amend. XIV.

        Objectively Intolerable Risk of Bias. The constitutional right to an impartial judge does not

merely require the “absence of actual bias.” Murchison, 349 U.S. at 136. “[O]ur system of law has

always endeavored to prevent even the probability of unfairness,” because “justice must satisfy the

appearance of justice.” Id. Any “possible temptation to the average man as a judge . . . not to hold

the balance nice, clear, and true between the State and the accused denies the latter due process of

law.” Tumey v. Ohio, 273 U.S. 510, 532 (1927).

        Thus, a judge’s participation in a criminal trial offends due process when an objective

observer, “considering all the circumstances alleged,” would conclude “the risk of bias was too high

to be constitutionally tolerable.” Rippo v. Baker, 137 S. Ct. 905, 907 (2017); Williams v.

Pennsylvania, 136 S. Ct. 1899, 1905 (2016) (“The Court asks not whether a judge harbors an actual,

subjective bias, but instead whether, as an objective matter, the average judge in his position is ‘likely’

to be neutral, or whether there is an unconstitutional ‘potential for bias.’” (quoting Caperton v. A.T.

Massey Coal Co., 556 U.S. 868, 881 (2009))).

        Structural Error. The violation of a defendant’s right to a fair tribunal is a structural

constitutional error and so is not subject to harmless error review. Tumey, 273 U.S. at 535. That is

because a biased judge presiding over a criminal trial is a basic defect in the “whole adjudicatory


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framework.” Williams, 136 S. Ct. at 1902. It is impossible to catalog the many ways a biased trial

judge may have affected the proceedings: “The entire conduct of the trial from beginning to end is

obviously affected . . . by the presence on the bench of a judge who is not impartial.” Arizona v.

Fulminante, 499 U.S. 279, 309-10 (1991).

           Moreover, a reviewing court may not be able to detect a biased judge’s influence. Courts

“cannot review a trial transcript to determine whether the presiding judge, despite his actual bias, was

fair: ‘The record does not reflect the tone of voice of the judge, his facial expressions, or his

unspoken attitudes and mannerisms, all of which, as well as his statements and rulings of record,

might have adversely influenced the jury and affected its verdict.’” Norris v. United States, 820 F.3d

1261, 1266 (11th Cir. 2016) (quoting United States v. Brown, 539 F.2d 467, 469 (5th Cir. 1976)). A

judge’s “lightest word or intimation is received [by jurors] with deference, and may prove

controlling.” Starr v. United States, 153 U.S. 614, 626 (1894). Therefore, a “‘criminal defendant

tried by a biased judge is entitled to have his conviction set aside, no matter how strong the evidence

against him.’” Buntion v. Quarterman, 524 F.3d 664, 672 (5th Cir. 2008) (quoting Edwards v.

Balisok, 520 U.S. 641, 647 (1997)).

           Nature of the Bias. The nature of the bias at issue in Mr. Halprin’s case is different and more

pernicious than the kind presented in previous cases the Supreme Court has identified as mandating

recusal.

           The Court has previously found a judge’s participation unconstitutional where he had

“earlier significant, personal involvement as a prosecutor in a critical decision in the defendant’s

case.” Williams, 136 S. Ct. at 1910 (judge authorized decision to seek death sentence); see also

Murchison, 349 U.S. at 134 (judge may not serve as both a “one-man grand jury” and as the trier of

contempt charges that he initiated). And the Constitution requires that a judge must recuse herself

where she has a slight financial interest in the outcome of the case. See Tumey, 273 U.S. at 520


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(mayor-judge received a salary supplement only for convictions); Ward v. Vill. of Monroeville, 409

U.S. 57, 60 (1972) (similar); Aetna Life Ins. Co. v. Lavoie, 475 U.S. 813, 823-24 (1986)

(disqualification required where state supreme court justice was plaintiff in almost identical insurance

case in lower state court). Recusal may also be constitutionally necessary as a result of events involving

judicial elections, where a litigant’s campaign contributions have a “significant and disproportionate

influence” in placing a judge on a specific case. Caperton, 556 U.S. at 884, 887. As with all these

circumstances, a judge’s religious and racial bias makes it intolerably likely that a defendant—who is

a member of the disfavored race or religion—will be tried by a court “predisposed to find against

him.” Marshall v. Jerrico, Inc., 446 U.S. 238, 242 (1980).

        When a judge expresses religious and racial bias and presides over a capital trial, it represents

“a disturbing departure from a basic premise of our criminal justice system: Our law punishes people

for what they do, not who they are.” Buck v. Davis, 137 S. Ct. 759, 778 (2017). As the Texas Supreme

Court stated 130 years ago, “Cases ought to be tried in a court of justice upon the facts proved; and

whether a party be Jew or gentile, white or black is a matter of indifference.” Moss v. Sanger, 12

S.W. 619, 620 (Tex. 1889) (reversing civil judgment where attorney made derogatory remarks about

Jewish party).

        The “basic premise” not to punish people for who they are finds expression not just in the

Constitution’s guarantee of a fair tribunal, but in other fundamental constitutional rights, protecting

religious liberty and equal protection under the law. See U.S. Const. amend. I, XIV.

        “The clearest command of the Establishment Clause is that one religious denomination”—

or one religion—“cannot be officially preferred over another.” Larson v. Valente, 456 U.S. 228, 244

(1982). It follows that judges, as state actors, may not “denigrate . . . religious minorities” through

their practices. Town of Greece v. Galloway, 572 U.S. 565, 583 (2014). The Free Exercise Clause

likewise preserves religious conscience from state persecution. It “protects against governmental


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hostility which is masked, as well as overt,” Church of the Lukumi Babalu Aye, Inc. v. City of

Hialeah, 508 U.S. 520, 534 (1993), and outlaws even “‘subtle departures from neutrality’ on matters

of religion,” Masterpiece Cakeshop, Ltd. v. Colorado Civil Rights Comm’n, 138 S. Ct. 1719, 1731

(2018) (quoting Church of the Lukumi Babalu Aye, Inc. v. City of Hialeah, 508 U.S. 520, 540

(1993)).

        The Equal Protection Clause provides yet another mandate to root out religious, racial, and

ethnic prejudice. 7 The Fourteenth Amendment reflects an “imperative to purge racial prejudice

from the administration of justice.” Pena-Rodriguez v. Colorado, 137 S. Ct. 855, 867 (2017). Racial

bias differs in kind from other forms of bias like a pro-defendant bias or a relationship to a witness.

Id. Racial bias is “a familiar and recurring evil that, if left unaddressed, would risk systemic injury to

the administration of justice.” Id. For this reason, the Court mandated a constitutional exception to

a well-established state rule barring impeachment of jurors with their statements at least “where a

juror made statements exhibiting overt racial bias that cast serious doubt on the fairness and

impartiality of the jury’s deliberations and resulting verdict.” Id. at 869.

        In Buck v. Davis, Chief Justice Roberts condemned even the slightest injection of racial

stereotypes into a capital trial. 137 S. Ct. at 778. Explicit racial stereotypes were “toxi[c]”—“deadly

[even] in small doses.” Id. at 777. The toxin poisons not just the defendant’s trial, but “‘poisons

public confidence’ in the judicial process,” and undermines the legitimacy of “the law as an

institution, . . . the community at large, and . . . the democratic ideal reflected in the processes of

our courts.” Id. at 778 (quoting Davis v. Ayala, 135 S. Ct. 2187, 2208 (2015), and Rose v.

Mitchell, 443 U.S. 545, 556 (1979)).


7
 Hatred of Jews has sometimes been characterized as a racial or ethnic prejudice, not only a
religious one. See Prager & Telushkin, Why the Jews? 151-154 (discussing Nazi anti-Semitic
racism). In discussing prejudice against Latinos, the Supreme Court has used both the language of
race and of ethnicity. See Pena-Rodriguez, 137 S.Ct. at 863.

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        Equal administration of justice for religious minorities is no less important. “The danger of

stigma and stirred animosities is no less acute for religious line-drawing than for racial.” Bd. of Educ.

of Kiryas Joel Vill. Sch. Dist. v. Grumet, 512 U.S. 687, 728 (1994) (Kennedy, J., concurring in the

judgment); see also Murphy v. Collier, No. 18A985, 2019 WL 2078111, at *2 (U.S. May 13, 2019)

(statement of Kavanaugh, J., joined by Roberts, C.J., respecting grant of application for stay of

execution) (discussing “the Constitution’s guarantee of religious equality”).

        In sum, a judge’s religious and racial prejudices are uniquely offensive to the Constitution

and the legitimacy of the criminal justice system. Even the slightest influence of racial and religious

stereotypes will make a trial fundamentally unfair. 8 A right to a trial free from a judge’s religious and

racial bias secures these fundamental principles of equality and religious liberty.

        Finally, the Eighth Amendment demands especially stringent review of a judge’s impartiality

in a death-penalty trial. As the D.C. Circuit recently observed in vacating three years’ of capital

proceedings before a biased Guantanamo military commission: “in no proceeding is the need for an

impartial judge more acute than one that may end in death.” In re Al-Nashiri, 921 F.3d 224, 231

(D.C. Cir. 2019); Gregg v. Georgia, 428 U.S. 153, 187 (1976) (plurality opinion) (“[T]he [Supreme]

Court has been particularly sensitive to ensure that every safeguard is observed.”). From jury

selection through the penalty-phase verdict, proceedings in a capital case are structured to culminate

in an individualized assessment of the defendant and his crime.

        [A]s Woodson v. North Carolina, 428 U.S. 280 (1976), made clear, “in capital cases
        the fundamental respect for humanity underlying the Eighth Amendment ... requires
        consideration of the character and record of the individual offender and the




8
 See also United States v. Conforte, 624 F.2d 869, 881 (9th Cir. 1980) (when an extrajudicial bias
or prejudice is “somehow related to a suspect or invidious motive,” “only the slightest indication of
the appearance or fact of bias or prejudice arising from these sources would be sufficient to
disqualify.”).


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        circumstances of the particular offense as a constitutionally indispensable part of the
        process of inflicting the penalty of death.” Id. at 304 (plurality opinion).

        Penry v. Lynaugh, 392 U.S. 302, 316 (1989). A judge’s reliance on pernicious group-based

stereotypes is anathema to this cornerstone Eighth Amendment precept.

              B. Judge Cunningham’s Animus Against Mr. Halprin as a Jewish Person
                   Introduced an Objectively Intolerable Risk of Bias into Mr. Halprin’s
                   Capital Trial.

        Judge Vickers Cunningham’s anti-Semitic prejudice against Mr. Halprin violated Mr.

Halprin’s right to a fair trial in a fair tribunal.

                 1.       Judge Cunningham’s Prejudiced Comments About Mr. Halprin

        According to two independent sources, Judge Cunningham referred to Mr. Halprin using

hateful epithets when discussing his case. See Exh. 9, McKinney Decl. ¶ 7 (calling Mr. Halprin

“fucking Jew”); id. at ¶ 13 (calling Mr. Halprin “that fuckin’ Jew” and “goddamn kike”); Exh. 17,

Tackett Decl. ¶ 15. When he spoke about his role in the Texas Seven cases, he “took special pride

in the death sentences because they included Latinos and a Jew.” Exh. 9, McKinney Decl. ¶ 7.

McKinney remembers Cunningham saying, “From the wetback to the Jew, they knew they were

going to die.” ¶ 12.

        These statements disclose far more than an unmistakable bias against Jewish people

generally. The statements identify Mr. Halprin himself, evince a specific animus against Mr. Halprin

because of his Jewish identity, and indicate that Judge Cunningham took satisfaction from his role in

Mr. Halprin’s death sentence because he is a “fucking Jew” and a “goddamn kike.” Cf. Moss, 12

S.W. at 620 (“Cases ought to be tried in a court of justice upon the facts proved; and whether a party

be Jew or gentile, white or black is a matter of indifference.”); Buck, 137 S. Ct. at 778 (“Our law

punishes people for what they do, not who they are.”).




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        Judge Cunningham’s use of racial and religious slurs to describe Mr. Halprin and the other

Texas Seven defendants serves as direct evidence of his animus. “[R]outine use of racial slurs

constitutes direct evidence that racial animus was a motivating factor” for the decision-maker. Brown

v. E. Mississippi Elec. Power Ass’n, 989 F.2d 858, 861 (5th Cir. 1993) (use of “nigger” was direct

evidence of employers discrimination in Title VII case). The terms “the Jew,” “fucking Jew,” and

“goddamn kike”—all of which Judge Cunningham called Mr. Halprin—are slurs, plain and simple.

        So is the term “wetback.” Ugalde v. W.A. McKenzie Asphalt Co., 990 F.2d 239, 243 (5th

Cir. 1993) (term is “ethnic slur”); Ex parte Guzmon, 730 S.W.2d 724, 733 (Tex. Crim. App. 1987)

(counsel’s repeated use of slur in death-penalty trial to describe defendant was “particularly harmful”

because it exacerbated the jury’s “doubts that such an illegal alien was entitled to all the protections

United States citizens are afforded”). 9

        The term “the Jew” is pejorative as Judge Cunningham used it. As Professor Bryan Stone

explains, the use of the term “the Jew” has a long historical lineage and, when applied to an

individual, “diminishes the individuality and humanity of a single person by attaching to them the

perceived attributes of the group of which they are a member.” Report of Professor Brian Stone,

Ph.D. 10 at 18 (Exhibit 28). This suggests to the listener that “the individual has no qualities other




9
 For summaries of the history of the term and the injury it causes, see Marisa Gerber, For Latinos,
a Spanish Word Loaded with Meaning, L.A. Times (Apr. 1, 2013),
http://articles.latimes.com/2013/apr/01/local/la-me-latino-labels-20130402; Gregory Korte,
Mexican Slur Has Long History in American Politics, USA Today (Mar. 29, 2013, 6:30 PM),
http://www.usatoday.com/story/news/politics/2013/03/29/mexican-immigration-
slurhistory/2036329/.
10
  Bryan Stone is Professor of History at Del Mar College in Corpus Christi, Texas, and the author
or editor of two books about Texas Jews, including The Chosen Folks: Jews on the Frontiers of
Texas (2010), the first scholarly narrative history of the Texas-Jewish community. See Exh. 27,
Stone Report at 2 (credentials); Curriculum Vitae, Bryan Stone (Exhibit 29).


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than those shared with the mass, that they are nothing more than the class they are a part of.” Id.

The term reduces the individual to “their supposedly debased inherited traits.” Id.

        Judge Cunningham’s use of “the Jew” as pejorative is consistent with his anti-Semitic mindset

about Jewish people and his pattern of anti-Semitic epithets. For example, in another incident, Ms.

Tackett recalls Judge Cunningham wearing a stereotypical banker’s outfit and declare that he would

be her “Jew banker” at a casino-themed party. Exh. 17, Tackett Decl. ¶ 21. The phrase invokes the

anti-Semitic character Shylock from Shakespeare’s Merchant of Venice and other pejoratives like

“to jew, to jew down, jewed, or jewing—meaning to bargain with, haggle, or cheat—[and] derives from

ancient canards about Jewish corruption and greed.” Exh. 27, Stone Rpt. at 17. Professor Stone,

quoting the Dictionary of Jewish Usage, writes, “As an adjective . . . Jew is now considered derogatory.

Usages like ‘a Jew lawyer’ or ‘a Jew holiday’ are offensive to Jews, and sensitive non-Jews avoid using

them.” Id. at 17.

        Tackett also recalls Cunningham instructing his daughter to break up with “that Jew boy”

when referring to her then-boyfriend. Exh. 17, Tackett Decl. ¶ 21. Drawing on his own research,

Prof. Stone reports the term “Jewboy” is a belittling term. Exh. 27, Stone Report at 19.

        Judge Cunningham also employs negative stereotypes and tropes about Jewish people. He

professes to believe that Jews “need[] to be shut down because they control[] all the money and all

the power.” Exh. 17, Tackett Decl. ¶ 9. Judge Cunningham also stated that Jews were “dirty.” These

are common Jewish tropes. Professor Stone explains that although the “dirty” trope is “ancient,”

Exh. 27, Stone Report at 18, it was used in an anti-Semitic speech by Judge Cunningham’s late pastor,

id. at 13, and “it was common for European anti-Semites, most conspicuously the Nazis, to describe

Jews not only as ‘dirty’ or ‘filthy’ but as ‘parasites,’ ‘rodents,’ ‘bacteria,’ or ‘scum,’” id. at 18. The idea

that Jewish people control the world’s finances and pull the levers of power is also an old anti-Jewish

canard, expressed in conspiracy theories like the Protocols of the Elders of Zion. See Prager &


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Telushkin, Why the Jews? 42, 202 n.3 (describing Protocols as forgery which “claims to outline the

program of a Jewish world conspiracy”).

       These statements reflect lifelong prejudices. It is implausible that Judge Cunningham only

acquired his animosity toward Jews in the not-quite three years between the conclusion of Randy

Halprin’s trial in June 2003 and 2006 when Amanda Tackett recalls hearing these statements. As

Tammy McKinney states, Judge Cunningham has “always” been bigoted and has a long history—pre-

dating the trial—of making offensive and derogatory remarks about Jewish people and other racial

and religious minorities. See Exh. 9, McKinney Decl. ¶ 5 (“always been like this”), ¶ 8 (by the age

of thirty), ¶ 16 (calling brother “nigger Bill” as long as she can remember). And his brother Bill says

Judge Cunningham has been using the word “nigger” to mock him “his entire life.” Exh. 21, Martin,

White, Straight, and Christian.

       Judge Cunningham must have been aware of Mr. Halprin’s Jewish identity no later than the

beginning of trial. He certainly was aware that Mr. Halprin is Jewish before the close of evidence in

the guilt phase. See 49 RR 46-47 (Halprin’s testimony about getting “picked on” for being

Jewish).

       Given his lifelong views, Judge Cunningham must have been aware that he was required

to recuse himself given his bias. Texas law mandated his recusal even without a motion. See

Tex. Civ. R. 18b(a), (b)(1)-(2) )(“[a] judge must recuse” whose “impartiality might reasonably be

questioned” and who “has a personal bias or prejudice concerning . . . a party”); McClenan v.

State, 661 S.W.2d 108, 109 (Tex. Crim. App. 1983) (finding “bias as a ground for [judicial]

disqualification [where] bias is shown to be of such a nature and to such an extent as to deny a

defendant due process of law.”), overruled in part on other grounds by De Leon v. Aguilar, 127

S.W.3d 1 (Tex. Crim. App. 2004); see 48B Robert Schuwerk & Lillian Hardwick, Texas

Practice Series: Handbook of Texas Lawyer and Judicial Ethics § 40:44 (“a judge may err by


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not recusing sua sponte” on a record indicating bias). Judge Cunningham’s failure to do so only

provides a further inference that he was acting pursuant to his bias. (If, on the other hand, no

Texas law mandated Judge Cunningham’s recusal or disqualification sua sponte, then Texas

law’s failure to so mandate would itself be constitutionally problematic under due process.)

        Like the case of the “many dishonest judges exposed and convicted through ‘Operation

Greylord,’ a labyrinthine federal investigation of judicial corruption in Chicago,” Bracy v. Gramley,

520 U.S. 899, 901 (1997), Judge Cunningham’s overt, unremitting racial and religious prejudice is

shocking and “happily, not the stuff of typical judicial-disqualification disputes.” Id. at 905. Amanda

Tackett herself describes Judge Cunningham as an outlandish figure, more akin to a racist villain in

a movie like “Mississippi Burning” than a real-life judge. See Exh. 17, Tackett Decl. ¶ 19; Exh. 21,

Martin, White, Straight, and Christian. 11 But the evidence presented here is of a piece with Judge

Cunningham’s recorded statements and acknowledged conduct. Judge Cunningham asserted that

“my faith” as a Christian gave him reasons for creating a financial incentive for his children to marry

only white, Christian, heterosexuals. 12 Exh. 22 (video); see also Exh. 21, Martin, White, straight and

Christian. He made that trust in 2010 and only later said his views had changed. See Exh. 26, “A




11
  But it should come as no surprise that Judge Cunningham hid his biases from public view for so
long. As historian Bryan Stone reports, “the relative success and general tolerance Jews have
enjoyed in Dallas may have had the perverse effect of driving anti-Semitic attitudes and speech
from public into private spaces.” Exh. 27, Stone Report at 1. In places like exclusive, private clubs,
“where the presence of Jews (not to mention of African Americans, Latinos, and often women)
could be strictly regulated, members of the city’s white, male, gentile elite could be themselves.” Id.
at 10. Thus, it is quite unremarkable that anti-Semitic views like Judge Cunningham’s could occur
unabashedly, and without the threat of public stigma.
12
  As the late Justice Scalia wrote, when a judge’s religious beliefs conflict with his oath and duty to
apply the law, “the choice … is resignation.” Antonin Scalia, God’s Justice and Ours: the Morality
of Judicial Participation in the Death Penalty, in Religion and the Death Penalty: A Call for
Reckoning 234 (Owens, et al., eds., 2004).


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Personal Note from Vic Cunningham.” But in 2014 he used payment for his daughter’s legal

education to induce her to break up with her longtime boyfriend because he was Jewish.

       Judge Cunningham expressed beliefs against racial mixing on the basis of race and

religion. Historically, reasons for anti-miscegenation are grounded in a belief in the inferiority

of other races and an effort to “maintain White Supremacy.” Loving v. Virginia, 388 U.S. 1, 11

(1967) (“The fact that Virginia prohibits only interracial marriages involving white persons

demonstrates that the racial classifications must stand on their own justification, as measures

designed to maintain White Supremacy.”). Viewed through the lens of history, Cunningham’s

opposition to interracial marriage, and his invocation of “my faith of being a Christian” to justify

this belief, reflect his endorsement of white supremacy and his attendant belief in the social and

biological inferiority of non-white persons.

       Judge Cunningham was a protégé of Rev. W.A. Criswell, whose segregationist views were

notorious, see Jones & McKee, Baptists eulogize Criswell ministry:

       “Criswell became one of the pulpit’s most visible defenders of segregation.” In a
       speech in South Carolina, “Criswell demanded separation not just of the races,
       but of religions as well. Invoking images of filth and dirt frequently used in
       depictions of African Americans and Mexican Americans, Criswell called
       integration the work of ‘outsiders’ (by implication Jews) in ‘their dirty shirts.’” If
       not stopped, he continued, they would “get in your family.” Christians, he said,
       had to resist this amalgamation and “stick to their own kind.” Views like
       Criswell’s were common in Dallas, Phillips says, but “Criswell’s vitriol still stood
       out in an age of widespread demagoguery and garnered national headlines.”

Exh. 27, Stone Report at 13 (quoting Michael Phillips, White Metropolis: Race, Ethnicity, And

Religion in Dallas, 1841–2001 133–34 (2006)).

       Judge Cunningham’s confessed anti-miscegenation attitudes dovetail precisely with the

reports of declarants that Judge Cunningham sought to further white supremacy in his role as

judge and would-be district attorney. Tackett reports that Judge Cunningham made the slurs about

the Jewish and Latino Texas Seven defendants shortly before “launch[ing] into a campaign speech


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about immigration and the importance of White people in the Dallas community.” Exh. 17, Tackett

Decl. ¶ 15. Judge Cunningham spoke admiringly of a “style of justice where we didn’t have to worry

about niggers, Jews, wetbacks, or Catholics.” Id. ¶ 7. 13 He also believed that “my job is to prevent

niggers from running wild again.” Id. ¶ 13.

       McKinney also heard Judge Cunningham say “that he could save Dallas from ‘niggers,

wetbacks, Jews, and dirty Catholics.’” Exh. 9, McKinney Decl. ¶ 10. Again, Judge Cunningham not

only thinks in racial stereotypes, he equates Mr. Halprin’s group and Catholics of any ethnicity with

the non-whites he denigrates.

       Judge Cunningham expressed odious group-based beliefs about criminality and just desert

regarding black defendants. Judge Cunningham’s repeatedly used the term “T.N.D.” to characterize

the sentences that black defendants received. See Exh. 17, Tackett Decl. ¶ 11. This reflects group-

based stereotypes about black criminality and the view that non-white defendants deserve

punishment that white defendants would not deserve. Even if Judge Cunningham had not spoken




 Judge Cunningham’s ideology parallels the historic rhetoric of the early twentieth century Ku
13


Klux Klan. As Professor Stone explains,
       Whereas the Reconstruction-era organization focused its wrath almost entirely on
       freed African Americans, the Second Klan was more purposeful in its effort to
       build a dues-paying membership, and it played to the nation’s broadest and deepest
       prejudices against blacks, Catholics, immigrants, socialists, and Jews. “[Simmons]
       would warn that ‘degenerative’ forces were destroying the American way of life,”
       explains historian Linda Gordon. “These were not only black people but also Jews,
       Catholics, and immigrants. Only a fusion of racial purity and evangelical Christian
       morality could save the country.”
Exh. 27, Stone Report at 6 (quoting Linda Gordon, The Second Coming of the KKK: The Ku
Klux Klan of the 1920s and the American Political Tradition (New York, 2017)). This “second”
incarnation of the Klan was especially successful in Dallas, which was considered a “Klan town.”
Id. at 6-7.



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directly about Mr. Halprin’s trial and used pejorative language that bespeaks his anti-Semitic bias,

numerous other pieces of evidence would establish his bias.

       Based on her lifelong association with Judge Cunningham, McKinney believes that he sought

out positions of power so that he could hurt people from different races and religions. Exh. 9,

McKinney Decl. ¶ 9. Judge Cunningham asserted publicly that he “wanted the challenge” of

presiding over the Texas Seven trials and believed it was his “destiny” to be a judge. Exh. 7, Two

Wilson Grads. Those public statements are consistent with the statements and views attributed to

him by Tackett, specifically, “he was anointed by God and chosen by God to preside over the Texas

7 trials.” McKinney Decl. ¶ 6. In 2018, he still proudly boasted that he “has put more criminals on

Death Row than almost any judge in the nation.” Exh. 20, “You Know Judge Vic.”

       Even setting aside the evidence of anti-Semitic animus Judge Cunningham expressed against

Mr. Halprin, there is yet another reason that Judge Cunningham likely was biased against him—the

fact that Mr. Halprin participated in the escape and robberies with Latino men whom he called

“wetback” or “spic.” Exh. 9, McKinney Decl. ¶¶ 5, 8, 10, 12; Exh. 17, Tackett Decl. ¶¶ 7, 9, 15.

This association may itself have caused an intolerable risk of bias. And Mr. Halprin’s close

coordination with the Latino men was centrally at issue in trial. See 53 RR 126-128; 135-136, 139.

               2.      In Light of All the Facts and Circumstances, an Objective Observer Would
                       Find the Risk of Bias Intolerably High

       An objective observer would conclude that Judge Cunningham could not prevent his

personal prejudice against Jewish people from affecting his treatment of Mr. Halprin, whom he knew

to be Jewish. This Court should find that Judge Cunningham had an intolerably high risk of bias in

violation of the Constitution.

       Judge Cunningham’s participation in Mr. Halprin’s case threatens the public’s confidence in

the criminal justice system. Those that know Judge Cunningham’s bias best—including his own



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mother—believe that it defined him. He could not have ruled impartially in Mr. Halprin’s case.

Average citizens doubted his ability to rule fairly just by reading the facts unearthed in the Dallas

Morning News story—a mere subset of the total evidence alleged here. And courts and judicial

conduct tribunals around the country have found similar overt statements of racial bias prevent a

judge from satisfying the appearance of impartiality.

         There can be nothing more offensive to constitutional commitments to racial and religious

equality than Judge Cunningham’s comments. Judge Cunningham’s bias in Mr. Halprin’s

proceedings harms not only Mr. Halprin, but undermines the public’s confidence that criminal

justice has been—and will be—dispensed. See Williams, 136 S. Ct. at 1909 (“[T]he appearance and

reality of impartial justice are necessary to the public legitimacy of judicial pronouncements and thus

to the rule of law itself.”); Buck, 137 S. Ct. at 778 (relying on racist stereotypes “poisons public

confidence in the judicial process,” and undermines the legitimacy of “the law as an institution, the

community at large, and the democratic ideal reflected in the processes of our courts.” (cleaned up));

Pena-Rodriguez, 137 S. Ct. at 869 (finding constitutional remedy for juror’s racial bias is “necessary

to prevent a systemic loss of confidence in jury verdicts”).

         The Fifth Circuit has found a judge was not impartial on similarly egregious facts. In United

States v. Brown, 539 F.2d 467 (5th Cir. 1976), a judge met an attorney at a motel swimming pool

during a bar association convention. Id. at 468. The judge told the attorney that “he was going to

preside at [Brown’s] trial and ‘that he was going to get that nigger.’” Id. Citing Murchison, 349 U.S.

at 136, and the “fair trial concept,” the Fifth Circuit found “the judge’s statement did not comport

with the appearance of justice, and it cannot be said from the record alone that appellant received a

fair trial.” Id. at 470.




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       Judicial conduct tribunals have also found that making private, bigoted comments threatens

the court’s appearance of impartiality, even where there was no direct comment on a criminal

defendant in a proceeding before the judge.

           •   In re Stevens, 645 P.2d 99, 99-100 (Cal. 1982): In California, a superior court judge

               continually referred to black litigants as “coons,” “jigs,” “niggers,” and to Latinos as

               “Mexican jumping beans” and “spics” in statements to “friends,” court personnel,

               court clerks, and in “private.” His discipline was public censure.

           •   In re Complaint of Judicial Misconduct, 751 F.3d 611 (U.S. Comm. on Judicial

               Conduct and Disability 2014): Misconduct included “hundreds of inappropriate

               email messages that were received and forwarded from [District Judge] Cebull’s court

               email account,” including “race-related emails that ‘showed disdain and disrespect

               for African Americans and Hispanics, especially those who are not in the United

               States legally’; ‘emails related to religion [that] showed disdain for certain faiths’;

               ‘emails concern[ing] women and/or sexual topics and were disparaging of women’;

               ‘emails contain[ing] inappropriate jokes relating to sexual orientation’….” Id. at 616.

               The Committee adopted the Ninth Circuit Judicial Council’s conclusion that Judge

               Cebull’s “email practices create a substantial possibility that his neutrality could be

               questioned” and ordered training in order “[t]o restore the public’s confidence that

               any possible conscious or unconscious prejudice will not affect future decisions.” Id.

               at 624.

           •   In re Eakin, 150 A.3d 1042, 1058 (Pa. Ct. Jud. Disc. 2016): Based on its review of

               the stipulated evidence—hundreds of those emails are offensive on the basis of race,

               gender, sexual orientation, religion, class or ethnicity--the Court of Judicial Discipline

               determined that the Judicial Conduct Board had established by clear and convincing


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               evidence that Pennsylvania Supreme Court Justice Eakin’s conduct violated Canon

               2A of the Code of Judicial Conduct - failure to conduct himself in a manner that

               promotes confidence in the integrity and impartiality of the judiciary.

       Those who knew best Judge Cunningham’s prejudiced beliefs doubt his ability to perform

his judicial duties impartially. Judge Cunningham’s own mother considered his bigotry his “biggest

burden,” Exh. 9, McKinney Decl. ¶ 17, and predicted his bigotry would be “his downfall.” Id.; Exh.

17, Tackett Decl. ¶ 17. Amanda Tackett believes that Judge Cunningham could not set aside his

biases when he was a judge. Exh. 17, Tackett Decl. ¶ 23. Tammy McKinney, drawing on her

“personal and intimate knowledge of [Judge Cunningham],” “do[es] not believe for one second that

Vic could be impartial in any of the Texas Seven cases, or any of the other cases that involved Jewish

people, or people of color, in his courtroom.” She bases her view on the total picture of Judge

Cunningham’s prejudice:

       [their] long association as family friends, how openly and honestly he has constantly
       expressed his prejudices and bigotry, how much he has used his role in the Texas 7
       case to promote himself, [] how he talked with certainty about the outcome of the
       Texas 7 cases, and the way he has repeatedly referred to Latinos as “wetbacks” and
       Jewish peoples as “goddamn kikes.”

Exh. 9, McKinney Decl. ¶ 18.

       Finally, recent empirical research on explicit and implicit biases in criminal sentencing

appears to confirm common sense: that a judge who harbors these explicit negative stereotypes about

groups would not judge individuals from those groups fairly. Even many judges who disclaim any

conscious bias against Jewish people—and who take an oath to judge impartially—still exhibit implicit

biases in judging Jewish people. A study of actual judges surveyed the judges’ explicit attitudes toward

Asians and Jews, tested them for implicit associations that revealed bias, and asked them to perform

a mock sentencing task involving a Jewish or Asian defendant. Both “[f]ederal and state judges

displayed strong to moderate implicit bias against Jews (relative to Christians) on the stereotype


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[implicit association test], such that Jews were associated with negative moral stereotypes (e.g., greedy,

dishonest, scheming), and Christians were associated with positive moral stereotypes (e.g.,

trustworthy, honest, generous).” Justin D. Levinson, Hon. Mark Bennett & Koichi Hioki, Judging

Implicit Bias: A National Empirical Study of Judicial Stereotypes, 69 Fla. L. Rev. 63, 105 (2017).

Strikingly, the results showed federal judges were more likely to sentence a Jewish defendant to a

longer sentence than an otherwise identical Christian defendant. Id. at 104, 105 Fig. 1, 110-11.

        Another study of racial bias among jurors in capital sentencing makes an even more striking

finding. Mock juror-participants who had “a higher self-reported[ 14] racial bias score” were more

likely to “giv[e] the death penalty when the victim of the murder was White.” Justin D. Levinson,

Robert J. Smith, Danielle Young, Devaluing Death, 89 N.Y.U. L. Rev. 513, 562 (2014). In other

words, explicitly biased jurors acted on those biases in their sentencing. These studies suggest, at a

minimum, that judges who harbor explicit negative stereotypes about Jewish people—whether they

intend to or not—likely introduce their biases into the courtroom.

        For all these reasons, Judge Cunningham’s participation violated Mr. Halprin’s right to due

process of law. Mr. Halprin’s conviction and sentence must be vacated so he can be tried before an

impartial tribunal.




14
  Participants were given the “Modern Racism Scale” which “asks participants to rate their
agreement or disagreement with a series of statements, such as “Discrimination against blacks is no
longer a problem in the United States.” Levinson, supra, at 556.


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                                      PROCEDURAL ISSUES

        I. STATEMENT OF EXHAUSTION AND STAY PENDING SUPREME COURT REVIEW

        Like the habeas petitioner in Pace v. DiGuglielmo, 544 U.S. 408 (2005), Mr. Halprin has

filed a “protective” petition to raise an unexhausted claim that he must present in federal court before

the statute of limitations expires. See 28 U.S.C. § 2244(d)(1). Here, the fact that Judge Cunningham

is a bigot—at least, that he is biased against African-Americans—came to light on May 18, 2018, when

the Dallas Morning News published an article stating that he referred to criminal cases he presided

over as “T.N.D.s” which stood for “typical nigger deals.” Exhs. 21, 22. Follow-up investigation

revealed Judge Cunningham’s anti-Semitism, and showed the extent to which that hatred infected

his thinking about Mr. Halprin.

        Ordinarily, Mr. Halprin would seek a stay to exhaust his claim. See Pace, 544 U.S. at 416

(authorizing a habeas petitioner to “fil[e] a ‘protective’ petition in federal court and ask[] the federal

court to stay and abey the federal habeas proceedings until state remedies are exhausted.” (citing

Rhines v. Weber, 544 U.S. 269, 278 (2005)).

        But by operation of Texas post-conviction law, Mr. Halprin may not yet return to state court.

Under the Texas Court of Criminal Appeals’ (“TCCA”) “two-forums rule,” the state court will not

consider Mr. Halprin’s application under Texas Code of Criminal Procedure art. 11.071, § 5

because his initial federal habeas corpus proceedings are ongoing. Ex parte Soffar, 143 S.W.3d 804,

804 (Tex. Crim. App. 2004) (stating rule); Ex parte Kunkle, No. 20,574-03, 2004 WL 7330932, at

*1 (Tex. Crim. App. Sept. 15, 2004) (applying rule to dismiss subsequent application pending while

petition for certiorari was pending in U.S. Supreme Court, see Kunkle v. Dretke, 543 U.S. 835 (Oct.

4, 2004) (mem.)).




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        Mr. Halprin’s petition for a writ of certiorari to review the decision of the Fifth Circuit Court

of Appeals is due June 12, 2019. Halprin v. Davis, No. 18A1032 (U.S. May 13, 2019) (application

granted by Justice Alito extending time to file until June 12, 2019).

        At this time, the exhaustion requirement is in a form of suspended animation: one of the

statutory exceptions applies because, due to the two-forums rule, “there is an absence of available

State corrective process,” 28 U.S.C. § 2254(b)(1)(B)(i), but that condition is temporary. See In re

Lewis, 484 F.3d 793, 798 (5th Cir. 2004) (“Texas two-forum rule temporarily postponed Lewis’s

ability to file his Atkins claim in state court”). Either the Supreme Court will grant review, or it will

deny it. But until the Supreme Court disposes of Mr. Halprin’s petition, stay and abeyance in this

Court will have no effect on the availability of the Texas post-conviction review process.

        The obverse also is true: the absence of an available state corrective process due to the two-

forums rule means Mr. Halprin cannot toll the statute of limitations by properly filing an application

for review in state court, or, at least, that there is uncertainty regarding (a) whether an application

dismissed under the two-forums rule was properly filed, and (b) how long such an application would

remain pending, if at all. See 28 U.S.C. § 2244(d)(2) (providing that limitations period is tolled during

pendency of “properly filed application for State post-conviction or other collateral review”); Pace,

544 U.S. at 416 (“A petitioner’s reasonable confusion about whether a state filing would be timely

will ordinarily constitute ‘good cause’ for him to file in federal court.”). But for the two-forums rule,

Mr. Halprin could have filed an application in state court under § 5 of Article 11.071 and relied

upon that to toll the federal statute of limitations. Mathis v. Thaler, 616 F.3d 461, 472 (5th Cir. 2010)

(application under § 5 is properly filed even if state court ultimately denies review under § 5(a)).

However, as the Fifth Circuit has recognized, the potential application of the two-forums rule creates

sufficient problems to constitute grounds for equitably tolling the statute of limitations in some




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circumstances. See In re Hearn, 389 F.3d 122, 123 (5th Cir. 2004). 15 Until the resolution of Mr.

Halprin’s initial federal habeas proceedings, there is not good cause for this Court to stay and abate

these proceedings because there is no state court remedy available for exhaustion. (But, as stated in

the introduction and the accompanying motion, the certiorari petition is good cause for staying this

matter.)

       Second, similar to the petitioner in Hearn, Mr. Halprin is without counsel to litigate his claim

in state court. Neither the Federal Public Defender nor private appointed counsel can appear under

this Court’s appointment in a state habeas proceeding for purposes of exhaustion absent an order

from this Court authorizing that appearance. Harbison v. Bell, 556 U.S. 180, 190 n.7 (2009)

(“Pursuant to [18 U.S.C.] § 3599(e)’s provision that counsel may represent her client in ‘other

appropriate motions and procedures,’ a district court may determine on a case-by-case basis that it

is appropriate for federal counsel to exhaust a claim in the course of her federal habeas

representation.”). Although Mr. Mansur could file the § 5 application pro bono publico, Mr. Halprin

would need additional counsel to litigate the matter.

       In sum, Mr. Halprin’s claim is now timely filed. By separate motion, Mr. Halprin will seek

a stay of these proceedings pending resolution of his petition for certiorari, to be filed on June 12.


15
  The Fifth Circuit has said “Texas has overturned” its two-forums rule. Hearn, 389 F.3d at 123; In
re Wilson, 442 F.3d 872, 876 (5th Cir. 2006). That is not correct. The TCCA has explained, “we
modified our so-called “two-forums” rule in such a way that it should no longer pose a potential
statute of limitations problem for federal habeas applicants raising Atkins claims under the
provisions of the Antiterrorism and Effective Death Penalty Act.” Ex parte Blue, 230 S.W.3d 151,
156 n.21 (Tex. Crim. App. 2007) (emphasis added). But that modification—an allowance for the
federal courts’ stay-abeyance procedure for petitioners who went to state court first, Ex parte
Soffar, 143 S.W.3d 804 (Tex. Crim. App. 2004), was not available to Mr. Halprin who was already
in the Fifth Circuit when he first could have learned about Judge Cunningham’s bias. The rule
remains in effect. See, e.g., Ex parte Acker, No. WR-56,841-05, 2014 WL 2002200, at *1 (Tex.
Crim. App. May 14, 2014) (dismissing under Soffar while case was in federal district court); Ex
parte Pondexter, No. WR-39,706-02, 2008 WL 748393, at *1 (Tex. Crim. App. Mar. 19, 2008)
(dismissing under Soffar while case was in Fifth Circuit).


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Then, at the conclusion of his Supreme Court proceedings, Mr. Halprin will have grounds for a

Rhines stay, so he may exhaust his claim in state court under Texas’s modified two-forums rule.

       II. THE PETITION IS TIMELY

       In compliance with the one-year statute of limitations, Mr. Halprin is filing this petition less

than one year after due diligence could have led to the discovery of Judge Cunningham’s biases and

prejudices. 28 U.S.C. § 2244(d)(1)(D). The limitations period ran “from . . . . the date on which the

factual predicate of the claim or claims presented could have been discovered through the exercise

of due diligence.” Id. Mr. Halprin’s claims are predicated on the bias and prejudice that trial judge

Vickers Cunningham felt towards him because he is a Jew and because he was a follower of two

Latino men against whom Judge Cunningham also was prejudiced because of their ethnicity.

       The earliest date on which due diligence might have triggered an investigation into Judge

Cunningham’s bias was May 18, 2018. On that date, the Dallas Morning News published an article

online and posted an accompanying video revealing that former Judge Cunningham is a racist. See

Exh. 21, Martin, White, straight, and Christian. In the video interview, Judge Cunningham

confirmed that he set up a trust fund for his children with the condition each child would receive a

distribution upon the child’s marriage but only if the child married a person who was white, Christian,

and of the opposite sex. Exh. 22. Judge Cunningham explained that he opposed inter-racial marriage

on the basis of “my faith” and “as a Christian.” Id. The Morning News asked Judge Cunningham

whether he ever used the word “nigger.” Judge Cunningham paused for nine seconds before asking

whether the Morning News meant to ask whether he ever used the word in court. Id. Then he denied

using it at all. Id. Judge Cunningham’s brother Bill Cunningham and Bill’s friend Amanda Tackett

told the Morning News that the judge did use the word, including that he referred to court cases he

presided over as “TNDs” which stood for “typical nigger deals.” Bill’s husband, who is Black, also




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reported that Judge Cunningham referred to him as “boy.” Exh. 21, Martin, White, straight, and

Christian.

       The Morning News focused on Judge Cunningham’s prejudice against black people. None

of the so-called “Texas Seven” co-defendants was black, and, therefore, due diligence did not require

Mr. Halprin to investigate whether Judge Cunningham was biased against him because he is Jewish.

In an abundance of caution, Mr. Halprin investigated whether Judge Cunningham’s opposition to

his children marrying non-Christians might be based on a bias against Jews.

       That investigation produced evidence of Judge Cunningham’s deep-seated prejudices and

their influence on his desire to be a prosecutor and judge, and his actions in those roles. Among

other things, the investigation produced evidence that Judge Cunningham was prejudiced against

Jews, that he referred to his daughter’s Jewish boyfriend as “Jew boy” before compelling her to end

her relationship with him, that Judge Cunningham used stereotypes and anti-Semitic tropes like “Jew

banker” when speaking of Jews, and that when describing his role in the Texas Seven trials, he

referred to Mr. Halprin as the “goddamn kike,” and “the fuckin’ Jew,” and to his Latino co-

defendants as “wetbacks.” Mr. Halprin also learned about the actions Judge Cunningham would take

in order to conceal his bigotry, for example, by donning a tie he thought would be appealing to an

African-American audience but that he referred to as his “nigger tie” behind their backs. Mr. Halprin

also learned that Judge Cunningham’s prejudices motivated him to seek public office, for example,

that he ran for public office in order to “save Dallas from niggers, wetbacks, Jews, and dirty

Catholics.”

       Before the Morning News exposed Judge Cunningham’s bigotry on May 18, 2018, and even

afterwards, no investigation was called for under the due diligence standard. There is “a presumption

of honesty and integrity in those serving as adjudicators.” Withrow v. Larkin, 421 U.S. 35, 47 (1975).

The Supreme Court has said that presumption operates in the specific context of an inquiry into a


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claim of judicial bias. Bracy v. Gramley, 520 U.S. 899, 909 (1997) (considering whether discovery

should be made available to capital habeas petitioner alleging judicial bias: “Ordinarily, we presume

that public officials have properly discharged their official duties.”) (internal quotation marks and

citations omitted). That is, Mr. Halprin and his counsel were entitled to presume that Judge

Cunningham was not biased or prejudiced against Jews and Latinos even after the Morning News

exposed his bigotry towards blacks and homosexuals. They investigated anyway and discovered the

evidence presented here less than one year later.

        III. THE PETITION IS NOT A “SECOND OR SUCCESSIVE” PETITION

        This case presents a threshold issue: how to interpret § 2244(b)(2)’s triggering phrase “second

or successive” when the habeas petitioner presents a constitutional claim that meets the statutory

criteria for timeliness but “does not fit within either of subsection (b)(2)’s exceptions.” Stewart v.

Martinez-Villareal, 523 U.S. 637, 642 (1998). Section 2244(b)(2) only applies to “second or
                                                                       16




successive” petitions, but “that phrase does not simply ‘refe[r] to all § 2254 applications filed second

or successively in time.’” Magwood v. Patterson, 561 U.S. 320, 332 (2010) (quoting Panetti v.




 Section 2244(b)(2) serves a “gatekeeping provision” for habeas petitions filed in federal court.
16


Felker v. Turpin, 518 U.S. 651, 657 (1996). As relevant here, it instructs that,
        [a] claim presented in a second or successive habeas corpus application under section
        2254 that was not presented in a prior application shall be dismissed unless—
        (A) the applicant shows that the claim relies on a new rule of constitutional, made
        retroactive to cases on collateral review by the Supreme Court, that was previously
        unavailable; or
        (B)(i) the factual predicate for the claim could not have been discovered previously
        through the exercise of due diligence; and
        (ii) the facts underlying the claim, if proven and viewed in light of the evidence as a
        whole, would be sufficient to establish by clear and convincing evidence that, but for
        constitutional error, no reasonable factfinder would have found the applicant guilty
        of the underlying offense.
 28 U.S.C. § 2244(b) (emphasis added).


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Quarterman, 551 U.S. 930, 940 (2007)). As the Supreme Court has done in less compelling

circumstances, this Court should not treat Mr. Halprin’s judicial bias claim as “second or successive”

for the purpose of triggering § 2244(b) by taking into account (1) the recognized purposes of the

abuse-of-writ statute, (2) the practical effects of requiring compliance with § 2244(b), (3) Congress’

intent in passing the law, and (4) the parties’ equitable positions under Supreme Court law.

          This case has two features in common with Panetti and Martinez-Villareal—the two cases in

which the court concluded § 2244(b) should not apply to a second-in-time petition. First, the factual

predicate for Mr. Halprin’s claim was not previously available. See also 28 U.S.C. § 2244(b)(2)(B)(i)

(codifying Congress’ desire that only previously unavailable claims be considered after initial habeas

review). Second, as applied to Mr. Halprin, the statute purports to withdraw jurisdiction over a timely

filed petition raising a fundamental and long-established constitutional right, the right to an impartial

trial judge. Cf. 28 U.S.C. § 2244(b)(2)(B)(ii). Judicial bias claims, like the competency-to-be-executed

claims raised in Panetti and Martinez-Villareal, are incompatible with the statute because they do not

depend on the factfinders’ assessment of guilt. 17 Tumey v. Ohio, 273 U.S. 510, 535 (1927) (“No

matter what the evidence was against him, he had the right to have an impartial judge”). In Panetti

and Martinez-Villareal, the Supreme Court held Ford        18
                                                                claims were not “second and successive”

because the statute’s exceptions failed to recognize them, see Panetti, 551 U.S. at 943-46, not despite

it. This Court should do the same.




17
  Mr. Halprin can show that he is actually innocent of the death penalty because his culpability is
constitutionally insufficient to subject him to capital punishment under Enmund v. Florida, 458
U.S. 782 (1982), and Tison v. Arizona, 481 U.S. 137 (1987). Were Mr. Halprin attempting to get
review of a procedurally defaulted claim, or to present an initial petition outside the statutory
limitations period, his freestanding showing of innocence would suffice. See Sawyer v. Whitley,
505 U.S. 333 (1992); McQuiggin v. Perkins, 569 U.S. 383, 392-93 (2013).
18
     Ford v. Wainwright, 477 U.S. 399 (1986).


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        Mr. Halprin’s claim is far more compelling than those in Panetti and Martinez-Villareal,

because his evidence shows the entire trial was fundamentally unfair. Like other structural errors, a

judicial bias claim is a “structural defect[] in the constitution of the trial mechanism” and “the

presence on the bench of a judge who is not impartial” “obviously” affects “the entire conduct of the

trial from beginning to end.” Arizona v. Fulminante, 499 U.S. 279, 309-10 (1991). By contrast, a

Ford claim questions only the timing of a lawfully imposed death sentence. If a petition challenging

only the timing of an execution is cause to find a petition is not “second or successive,” then it would

be an anomalous and perverse result to hold the statute permissibly withdraws jurisdiction over a

petition that challenges a structural defect in the entire trial. See Panetti, 551 U.S. at 943.

        The Supreme Court has made clear that AEDPA should be interpreted in light of its

“practical effects.” Panetti, 551 U.S. at 945. “This is particularly so when petitioners ‘run the risk’

under the proposed interpretation of ‘forever losing their opportunity for any federal review of their

unexhausted claims.’” Id. at 945-46 (quoting Rhines v. Weber, 544 U.S. 269, 275 (2005)). Because

“‘closing the door to’” petitioners raising newly-discovered claims of judicial bias leads to grave

problems, “‘troublesome results,’” and “‘procedural anomalies,’” this Court should avoid that

interpretation of AEDPA unless it has “‘clear indication that such was Congress’ intent.’” Id. at 946

(quoting Castro v. United States, 540 U.S. 375, 380, 381 (2007)).

             A. Supreme Court Precedent Forecloses Automatically Treating this Petition
                  as “Second or Successive.”

        “It is well settled that the phrase ‘second or successive’ does not simply ‘refer to all § 2254

applications filed second or successively in time.’” Magwood, 561 U.S. at 332 (internal quotation

marks, citation, and alterations omitted). Because the phrase is “not self-defining,” “[i]t takes its full

meaning from [Supreme Court] case law, including decisions predating the enactment of [AEDPA].”

Panetti, 551 U.S. at 943-44. Accordingly, the Court “has declined to interpret ‘second or successive’



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as referring to all § 2254 applications filed second or successive in time, even when the later filings

address a state-court judgment already challenged in prior § 2254 application.” Id. at 944.

       In both Panetti and Martinez-Villareal, the Court considered the practical effects of its

holdings and rejected an interpretation that would exclude any federal review of those claims because

“the implications for habeas practice would be far reaching and seemingly perverse.” Martinez-

Villareal, 523 U.S. at 644; see also Panetti, 551 U.S. at 943-46. With those considerations in mind,

the Court “create[d] an ‘exception’ to § 2244(b) for a second application raising a claim that would

have been unripe had the petitioner presented it in his first application.” Magwood, 561 U.S. at 332.

       In Panetti, the State of Texas argued that, to avoid application of § 2244(b), and certain

dismissal of his claim, Mr. Panetti should have filed his Ford claim in his first petition. 551 U.S. at

943. But the Court rejected this contention in part because of “the results it would produce.” Id. A

prisoner would either have to forgo the opportunity to raise such a claim in federal court, or raise

the claim in a first petition, even though it was premature. Id. This “dilemma would apply not only

to prisoners with mental conditions indicative of incompetency,” who might contemplate a future

Ford claim, “but also to those with no early signs of mental illness,” who may have no reason to

believe that such a claim would become applicable. Id. The State’s demand for premature claims

“would add to the burden imposed on courts, applicants, and the States, with no clear advantage to

any.” Id. In order to avoid that result, the Court concluded that “Congress did not intend the

provisions of AEDPA addressing ‘second or successive’ petitions to govern a filing in the unusual

posture” presented in Mr. Panetti’s case. Id. at 945. The fact that Congress has not further amended

AEDPA in the 21 years since Martinez-Villareal, or the 12 years since Panetti, indicates the Supreme

Court was correct that Congress did not intend to foreclose claims that have no bearing on guilt or

innocence.




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        And Congress did not intend § 2244(b) to govern a filing in the unusual posture presented

here: a § 2254 petition raising a judicial bias that could only have become available later, by

happenstance. It makes no more practical sense to require the pleading of judicial bias claims without

a factual predicate than to require the pleading of incompetency claims without a factual predicate.

        What is more, just as a “State . . . may properly presume that [a] petitioner remains sane at

the time sentence is to be carried out,” Ford, 477 U.S. at 426 (Powell, J., concurring), there is “a

presumption of honesty and integrity in those serving as adjudicators.” Withrow, 421 U.S. at 47;

accord Bracy, 520 U.S. at 909. The Supreme Court has repeatedly held that habeas petitioners are

entitled to rely upon presumptions of official integrity such that diligence imposes no duty to

investigate where there is no evidence official wrongdoing. See Banks v. Dretke, 540 U.S. 668, 694

(2004) (“it was . . . appropriate for Banks to assume that his prosecutors would not stoop to improper

litigation conduct”) (citing Strickler v. Green, 527 U.S. 263, 285-89 (1999)).

        This Court should follow Martinez-Villareal and Panetti because like the “unusual posture

presented” in Panetti, 551 U.S. at 945, “[t]he facts of this case are, happily, not the stuff of typical

judicial disqualification disputes,” Bracy, 520 U.S. at 905, and the evidence of a structural defect in

the state court judgment was not previously available through diligent inquiry. Congress could not

account for every potential claim that might come to light after an initial petition. It is reasonable to

conclude Congress simply assumed something as rare as a racially biased judge would not require

specific mention in the Act. 19




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  Since its enactment, AEDPA has required an unusual amount of judicial construction and
interpretation and has produced extraordinary divisions among judges over its meaning and
application. There are many reasons. One “is that in a world of silk purses and pigs’ ears, the Act
is not a silk purse of the art of statutory drafting.” Lindh v. Murphy, 521 U.S. 320, 336 (1997).


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               B. Dismissing Mr. Halprin’s Judicial Bias Claim Would Have Far-Reaching
                  and Perverse Implications

        Congress could not have intended for § 2244(b) to deprive a petitioner in Mr. Halprin’s

situation of a federal habeas remedy, given its overarching commitment to retaining a remedy for

claims impacting the fundamental fairness of a criminal trial. “Congress has recognized that federal

habeas corpus has a particularly important role to play in promoting fundamental fairness in the

imposition of the death penalty.” McFarland v. Scott, 512 U.S. 849, 859 (1994), quoted in Christeson

v. Roper, 135 S. Ct. 891, 894 (2015). Martinez-Villareal and Panetti are in line with other cases

preserving federal habeas review for claims that impact the fundamental fairness of a death sentence.

See, e.g., Teague v. Lane, 489 U.S. 288, 312 (1989) (explaining exception to rule against retroactive

application of new rules for claims that “implicate the fundamental fairness of the trial”); O’Dell v.

Netherland, 521 U.S. 151, 157 (1997) (discussing role of fundamental fairness in second Teague

exception). Martinez-Villareal’s construction of AEDPA also promotes the federal courts’ proper

role in ensuring “the ‘laws, rules, and remedies’ created by Congress” comport with the

Constitution’s demand for a remedy. Chapman v. California, 386 U.S. 18, 47 (1967) (Harlan, J.,

dissenting).

        Indeed, one of the intellectual architects of § 2244(b)(2)(B)’s innocence exception, Judge

Henry Friendly, argued that an innocence requirement should not apply in cases where “the criminal

process itself has broken down; the defendant has not had the kind of trial the Constitution

guarantees.” Henry Friendly, Is Innocence Irrelevant? Collateral Attack on Criminal Judgments, 38

U. Chi. L. Rev. 142, 151 (1970); see also id. (arguing that another structural error, racial

discrimination in jury selection, should not be subject to innocence requirement). Like the claims

excluded by Judge Friendly, Mr. Halprin’s judicial bias claim concerns “the very basis of the criminal




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process,” such that collateral attack would be appropriate “regardless of the defendant’s guilt.” Id. at

152.

        Given Congress’s consistent focus on fundamental fairness, Mr. Halprin has a far stronger

claim to federal habeas review than the petitioners in Martinez-Villareal and Panetti had, because

his claim so directly implicates the structural integrity of his trial.

        The right to be tried by an impartial judge is among those “constitutional rights so basic to a

fair trial that their infraction can never be treated as harmless error.” Chapman, 386 U.S. at 23 & n.8

(citing Tumey, 273 U.S. 510). Even Justice Harlan, who dissented in Chapman, said, in words that

carry greater importance in the present case, that he considered judicial bias among those “certain

types of official misbehavior [that] require reversal simply because society cannot tolerate giving final

effect to a judgment tainted with such intentional misconduct.” 386 U.S. at 56 & n.7 (Harlan, J.,

dissenting) (emphasis added). “Since fundamental fairness is the central concern of the writ of habeas

corpus,” Strickland v. Washington, 466 U.S. 668, 697 (1984), the exclusion of Mr. Halprin’s claim

from federal review would have more far reaching and perverse implications than the exclusionary

application of § 2244(b) that was rejected in Panetti and Martinez-Villareal.

        The claim at issue in Panetti and Martinez-Villareal, while substantial, was not as weighty as

Mr. Halprin’s judicial bias claim. As Justice Powell observed when considering how much process

was due to one claiming incompetence for execution, a Ford incompetency-for-execution claim

concerns only the timing of the execution, not whether it may happen at all. Ford, 477 U.S. at 425

(“This question [of when the execution may take place] is important, but it is not comparable to the

antecedent question whether the petitioner should be executed at all.”) (Powell, J., concurring).

Nothing could implicate the fundamental fairness of the trial more than evidence that an anti-Semitic

judge harbored animus against a Jewish defendant in his capital trial.




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        Mr. Halprin’s claim is at least as serious as the claim presented in Buck v. Davis, 137 S. Ct.

759 (2017). Buck reaffirmed the role of federal habeas courts in eliminating racial prejudice from

the administration of justice, and doing so long after the entry of final judgment in an initial federal

habeas petition challenging a Texas death sentence. Id. at 778.

        In Buck, defense counsel unreasonably elicited from his penalty-phase expert the opinion

that there was a “connection between Buck’s race and the likelihood of future violence,” specifically,

that his race meant there was an “[i]ncreased probability” that he would commit future acts of

violence. Buck, 137 S. Ct. at 775. The Supreme Court held the testimony was prejudicial in part

because “the focus of the proceeding was on the first question” presented to the jury: future

dangerousness. Id. at 776. Although Buck “had committed acts of terrible violence,” they “occurred

outside of prison, and within the context of romantic relationships with women.” Id. So the question

was whether the change in setting if he were sentenced to life imprisonment “would minimize the

prospect of future dangerousness.” Id. The expert’s testimony was prejudicial in large part because

it focused on “one thing would never change: the color of Buck’s skin.” Id. As the Supreme Court

said, that claim is far from “de minimis,” as the district court had held it was. Id. at 777.

        From jury selection, and the life- and death-qualifying of jurors, 20 through ruling on objections

and other informal responses to testimony and argument in the courtroom, the purpose of judging

in a capital trial is to ensure that if and when the time comes, jurors will be able “to make a ‘highly

subjective, unique, and individualized judgment’” on the right sentence. Turner v. Murray, 476 U.S.

28, 33-34 (1986). The potential for improper influence in those circumstances by a judge who could




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  See Morgan v. Illinois, 504 U.S. 719, 728-29 (1992) (explaining life-qualification); Witherspoon
v. Illinois, 391 U.S. 510 (1968) (explaining death-qualification).


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not himself view the defendant as Randy Halprin, unique human being, but only “the fuckin’ Jew”

or “goddamn kike,” is incalculable.

        It would have far reaching implications and would be truly perverse to dismiss Mr. Halprin’s

evidence that the trial judge considered him a “goddamn kike” and “that fuckin’ Jew” after the

Supreme Court permitted the Ford claim to proceed in Panetti, and granted relief on Buck’s

ineffective-assistance-of-counsel claim that involved a single witness testifying to a racial stereotype.

As the Supreme Court recently observed, “the public legitimacy of our justice system relies on

procedures that . . . provide for error correction,” Rosales-Mireles v. United States, 138 S. Ct. 1897,

1908 (2018). Correcting constitutional error is not just a matter of reputation, it is a matter of efficacy.

        Legitimacy may be measured by the quality of decision making or the quality of
        treatment of defendants. More specifically, procedures are legitimate when they are
        neutral, accurate, consistent, trustworthy, and fair—when they provide opportunities
        for error correction and for interested parties to be heard. Legal authorities are
        legitimate when they act impartially, honestly, transparently, respectfully, ethically,
        and equitably. The criminal justice system that optimally expresses these values is not
        only morally defensible but also quite probably stable and effective.

Bowers & Robinson, Perceptions of Fairness and Justice: The Shared Aims and Occasional

Conflicts of Legitimacy and Moral Credibility, 47 Wake Forest L. Rev. 211, 215–216 (2012), cited

in Rosales-Mireles, 138 S. Ct. at 1908. Mr. Halprin’s judicial bias claim raises precisely these practical

concerns.

        As evidence that public confidence has already been shaken by reports of Judge

Cunningham’s racist values, one need only read the reactions of readers to the May 18, 2018, Dallas

Morning News report. In response to a tweet linking to the article on Twitter, dozens of users

commented that Cunningham’s conduct caused them to question his ability to preside over cases

fairly. See Twitter Comments to Dallas Morning News Tweet of May 18 Article (Exhibit 30).

Emblematic was @BeBraveNStuff who said, “I cannot be the only person wondering how many

people of color this unashamed bigot had before him in a court room. Every case this man judged


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should be under scrutiny.” Exh. 30, https://twitter.com/BeBraveNStuff/status/997657752968327168

(liked 58 times).

        This Court should avoid the troublesome, anomalous, and review-foreclosing interpretation

of § 2244(b) that would preclude consideration of a claim attacking the integrity of the trial process

at its foundation, where less serious claims would get consideration under similar circumstances.

              C. Equity Provides the Appropriate Remedy

        Section 2244(b) imposes “a restraint on what is called in habeas corpus practice ‘abuse of the

writ.’” Felker v. Turpin, 518 U.S. 651, 664 (1996). In Felker, the Supreme Court found the statute

was “within the compass of” that doctrine that, in turn, was “‘a complex and evolving body of

equitable principles informed and controlled by historical usage, statutory developments, and judicial

decisions.’” Id. (quoting McClesky v. Zant, 499 U.S. 467, 489 (1991)). Panetti and Martinez-Villareal

are further steps in that evolutionary process. Mr. Halprin proposes this Court find that

consideration of his judicial bias claim is on the path from McClesky to AEDPA to Panetti. For the

reasons stated in the previous section, Mr. Halprin’s claim does not require this Court to go beyond

Panetti, but rather to find that because review was required for a Ford claim, which does not concern

the structural integrity of the trial, it is necessarily required for a bias claim, which does show a lack

of structural integrity.

        Section 2244(b) does not impair this Court’s equitable power to decide a case in a manner

consistent with Panetti. “[E]quitable principles have traditionally governed the substantive law of

habeas corpus,” and the Supreme Court “will not construe a statute to displace courts’ traditional

equitable authority absent the clearest command.” Holland v. Florida, 560 U.S. 631, 646 (2010).

The text of § 2244(b) contains no clear command countering the courts’ equitable authority to

permit review of a claim of judicial bias, the factual basis of which was not available until after May

18, 2018.


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        “In habeas, equity recognizes that ‘a suitor’s conduct in relation to the matter at hand may

disentitle him to the relief he seeks.’” McClesky, 499 U.S. at 490 (quoting Sanders v. United States,

473 U.S. 1, 17 (1963)). The Supreme Court also has held that when a federal court decides whether

to apply the procedural default doctrine, it is appropriate to consider whether the State’s conduct

diminishes its ability to rely upon that habeas defense. Davila v. Davis, 137 S. Ct. 2058, 2065 (2017)

(explaining that Martinez v. Ryan, 566 U.S. 1 (2012) “announced a narrow[] ‘equitable . . .

qualification’ of” the procedural default rule); id. at 2068 (“Martinez . . . was responding to an

equitable consideration” raised by state law). The Martinez Court held in part that the State’s

deliberate choice regarding the manner of review of federal claim was “‘not without consequences

for the State’s ability to assert a procedural default’ in subsequent federal habeas proceedings.” Id.

at 2068 (quoting Martinez, 566 U.S. at 13).

        Because “[t]he doctrines of procedural default and abuse of the writ implicate nearly identical

concerns flowing from the significant costs of federal habeas corpus review,” McClesky, 499 U.S. at

490-91, “the same standard used to determine whether to excuse state procedural defaults should

govern the determination of inexcusable neglect in the abuse-of-the-writ context,” id. at 490. In the

procedural default context, the cause inquiry parallels the due-diligence requirement under §

2244(b)(2). It focuses on “objective factors external to the defense” in order to distinguish the

circumstances that can constitute cause from “a ‘tactical’ or ‘intentional’ decision to forgo a

procedural opportunity” to raise a federal claim because such a decision “normally cannot constitute

cause.” Amadeo v. Zant, 486 U.S. 214, 221-22 (1988) (quoting Reed v. Ross, 468 U.S. 1, 14 (1984)).

In Amadeo, the Court found cause where local officials concealed the factual basis for the

petitioner’s claim. Id. at 222.

        As shown above, the law recognizes a presumption of honesty and integrity for both

prosecutors and judges, and would-be claimants like Mr. Halprin are entitled to rely on those


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presumptions. When evidence shows that prosecutors failed to live up to the presumption of

integrity, by suppressing evidence and claiming that they disclosed it, the prisoner has cause for his

failure to raise a Brady claim in state court. Banks, supra, 540 U.S. at 692-93, discussing Strickler,

supra, 527 U.S. at 276-289. The same principle should apply here.

        Judge Cunningham had a duty not to preside over a case in which he considered the

defendant a “kike” and “fucking Jew,” and whose co-defendants he thought of as “wetbacks.” See

Claim 1.B.1, supra, at 29 (discussing Texas authority for duty to recuse). By remaining on the case,

and not disqualifying himself, Judge Cunningham, like the prosecutors in Banks and Strickler,

violated Mr. Halprin’s right to due process and concealed the factual basis for asserting that his rights

were violated.

        Section 2244(b), like the Supreme Court’s abuse-of-the-writ cases, attempts to relieve the

burden imposed when “a State must defend its conviction in a second or subsequent habeas

proceeding on grounds not even raised in the first petition.” McClesky, 499 U.S. at 492. But as the

Court held in Martinez, albeit in different circumstances, that concern has no weight, or the State is

not entitled to press its concern, when, as in Banks and Strickler, a state actor—here a judge specially

appointed to preside over the Texas Seven trials—suppressed or concealed the relevant information

and thereby prevented his conduct from being challenged earlier and thereby caused the

constitutional claim to be filed in a second petition.

        AEDPA, as interpreted in Panetti, does not require that the State’s interest in finality be given

weight here, and equity forbids it. Public confidence in the legitimacy and integrity of the criminal

justice system requires federal habeas review as a means of correction for this capital trial tainted by




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a racist judge who had actual anti-Semitic and anti-Latino bias against the defendants. Accordingly,

this Court should hold this petition is not subject to § 2244(b)’s restrictions. 21

      REQUEST FOR PROCEDURES AVAILABLE UNDER STATUTES AND RULES

        The habeas statutes and rules, and the cases applying them, “reduce uncertainty, avoid unfair

surprise, minimize disparate treatment of similar cases, and thereby help all litigants, including the

State, whose interests in ‘finality’ such rules often further.” Lonchar v. Thomas, 517 U.S. 314, 324

(1996). That is, the statutes and rules provide for due process in habeas proceedings. Ad hoc

departures from those processes for purposes of expediency may violate due process. See id. at 320-

22. Mr. Halprin requests this Court afford him the procedures set forth in 28 U.S.C. § 2243,

paragraphs 6 and 7, and Habeas Rules 5(e), 6, 7, and 8. Filing the traverse or reply under § 2243

and Habeas Rule 5(e) completes the pleading stage, Walker v. Johnston, 312 U.S. 275, 284 (1941)

(“petition and traverse … should be [treated] as together constituting the application for the writ”), 22

and this Court will be able to determine whether discovery is required because Mr. Halprin has

placed specific allegations before the Court that may entitle him to relief if they are fully developed.

Bracy v. Gramley, 520 U.S. 899, 908-909 (1997). After that determination, the Court will be in a

position to determine whether the record should be expanded, Habeas Rule 7(a), after which point

Habeas Rule 8(a) requires a habeas court to consider whether, in light of “any materials submitted

under Rule 7 … an evidentiary hearing is warranted.” See Wellons v. Hall, 558 U.S. 220, 226 (2010)



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   These equitable and practical reasons would also support relief from the judgment under Federal
Rule of Civil Procedure 60(b). Rule 60(b) serves as “a grand reservoir of equitable power to do
justice in a particular case that may be tapped by the district court in the sound exercise of its
discretion, and within the strictures inherent in the underlying objectives of the rule.” Seven Elves,
Inc. v. Eskenazi, 635 F.2d 396, 402 (5th Cir. 1981) (internal quotations and citations omitted).
Moreover, “there can be little doubt that Rule 60(b) vests in the district courts power ‘adequate to
enable them to vacate judgments whenever such action is appropriate to accomplish justice.’” Id. at
401 (quoting Klapprott v. United States, 335 U.S. 601, 614-15 (1949)).
22
   See also 28 U.S.C. § 2248; Habeas Rule 8(a).


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(per curiam); Townsend v. Sain, 372 U.S. 293, 312-19 (1963), overruled in part on other grounds

by Keeney v. Tamayo-Reyes, 504 U.S. 1, 5 (1992); Schriro v. Landrigan, 550 U.S. 465, 474 (2007).

        To the extent this Court may find the State met its pleading burden related to procedural

defenses such as non-exhaustion, the application of 28 U.S.C. § 2254(d)(1) or (d)(2) to specific items

of evidence, or procedural default, this Court should grant a hearing so that Mr. Halprin can present

evidence in support of avoidance, traverse, or exceptions to those defenses. See Jenkins v. Anderson,

447 U.S. 231, 234 n.1 (1980); see also Trevino v. Thaler, 569 U.S. 413, 428-29 (2013); Schlup v.

Delo, 513 U.S. 298, 332 (1995); Gallow v. Cooper, 570 U.S. 933 (June 27, 2013) (Breyer, J.)

(statement regarding denial of certiorari).

        Although the State has the right to answer, and Mr. Halprin has a right to complete his

application by way of reply and traverse, the allegations here are sufficient to trigger the fact-

development procedures in Habeas Rules 6, 7, and 8.

                                       PRAYER FOR RELIEF

        For the foregoing reasons, Petitioner respectfully prays that this Court:

    a. Stay these proceedings and hold them in abeyance pending Supreme Court review of
       Petitioner’s initial federal habeas proceedings;

    b. Under 28 U.S.C. § 2243, ¶ 5, issue an order to have him brought before it, to the end that
       he may be discharged from the unconstitutional confinement and restraint on the bases set
       forth in this Petition;

    c. Under § 2243, ¶ 1, or Habeas Rule 4, direct the State to answer or show cause why relief
       should not be granted;

    d. Under § 2243, ¶ 6, and Habeas Rule 5(e), allow Petitioner to deny or allege additional facts,
       and respond to any procedural defenses, by way of traverse or reply;

    e. Under Habeas Rule 6, allow Petitioner an opportunity to file a motion for discovery, and,
       under § 2243, ¶ 7, and Fed. R. Civ. P. 15(a)(2), permit Petitioner an opportunity to seek
       leave to amend with any newly discovered evidence;

    f. Under Habeas Rule 7, allow Petitioner an opportunity to suggest that the record be
       expanded;


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g. Under Habeas Rule 8, conduct an evidentiary hearing at an appropriately scheduled time
   where proof may be offered and argument advanced concerning the allegations set forth in
   his Petition;

h. Allow Petitioner to brief the precedential and statutory law relevant to his case in light of the
   record and the allegations raised by his Petition;

i.   Direct the parties to brief and argue any issues that may arise in the course of the litigation;

j.   Grant such other relief as may be necessary and appropriate.




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DATED: May 17, 2019                       Respectfully submitted,



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                                 VERIFICATION BY ATTORNEY

        I, the undersigned, am the attorney appointed by this Court under 18 U.S.C. § 3599 to

represent Petitioner Randy Ethan Halprin in these proceedings. Under that appointment, I have

met with Mr. Halprin on several occasions, consulted with his co-counsel, Paul Mansur, and retained

and directed experts and investigators to inquire into the circumstances surrounding judgments of

conviction and death imposed on Mr. Halprin by the State of Texas. It is in that capacity that I verify

this Petition. I declare under penalty of perjury that the foregoing allegations in this Petition are true

and correct and that this Petition for Writ of Habeas Corpus is being filed using this Court’s

CM/ECF system on May 17, 2019.

        Subscribed to by me this 17th day of May 2019 in Miami, Florida.



                                                         /s/ Tivon Schardl

                                                         Tivon Schardl
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on the 17th day of May, 2019, I electronically filed the foregoing Petition

for Writ of Habeas Corpus Supported by Points and Authorities with the Clerk of Court using the

CM/ECF system which will effect service on all counsel of record.



                                               /s/ Timothy Gumkowski
                                               TIMOTHY P. GUMKOWSKI
